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           EXHIBIT B
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                                               SUMMONS                                                                               fOR COUR T USE ONL Y
                                                                                                                                  (SOLO PAPA USODE LA CORTE)
                                           (CITACION JUDICIAL)
         NOTICE TO DEFENDANT:
         (AVISO AL DEMANDADO):                                                      r-7-y^
          GREGORY BLATT, IAC/INTERACTIVE CORP. and MATCH
          GROUP, fNC.
         YOU ARE BEING SUED BY PLAINTIFF:
         (LO ESTA DEMANDANDO EL DEMANDANTE):
          ROSETTE PAMBAKIAN


           NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
           below.
             You havo 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
           served on tho plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you W3nt the court to hear your
          case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
          Online Self-Help Center (www.courtinfy.ca.gov/selfholp)t your county law library, or tho courthouse nearest you. It you cannot pay the filing fee, ask
          the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default and your wages, money, and property
          may be token without further warning from the court.
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
          referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program You car. locate
          these nonprofit groups at the California Legal Services Web site (www.lawholpcalifomia.org). the California Courts Online Self-Help Center
          (www.courtinfo.ca.gov/solfhotp), or by contacting your local court or county bar association. NOTE: Tho court has a statutory lien for waivod foes and
          costs on any settlement or arbitration award of S 10.000 or more in a civil case. Tho court’s lien must be paid before the court will dismiss the case.
          IA VISOI Lo han domandado. Si no rospondo dontro do 30 d/as. la corto puodo docidir on su contra sin oscuchar su vorsidn. Loa la informacidn a
          continuacidn.
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          en formato legal corrocto si desea que procesen su caso en la corte. Es posible quo haya un formulario que tisted pueda usar para su rospuesta.
          Puodo cncontrar cstos fbrmularios do lo corto y mis informacidn on of Contra do Ayuda do las Cortos do California fwww.sucorte.ca.gov/ on la
          biblioteca do leyes de su condado o en la corte que le quede mis cerca. Si no puede pagarla cuota de pmsentacidn, pida al sccretario do la corte
          que le d6 un formulario de exencion de pago de cuotas. Si no presents su respuesta a tiempo, puede penierel caso por incumplimiento y la corte le
          podra quiiar sir sue/do. dinero y bienes s'n mas advertencia.
            Hay otros reqtiisrtos legates. Es recomendable qtte llame a un abogado inmediatamente. Si no conoce a un abogado. puede llamara un setvicio de
          remision a abogados. Si no puede pagara un abogado, es posible que cumpla con los requisitospara obtener servicios legates gratuitos de un
          programa do servicios legalos sin fines de tucro, Puodo encontrar eslos grupos sin fines de lucre en el sitio web de California Legal Services,
          fwvvw.lawhelpcalifomia.org/ on el Centro de Ayuda de las Cortes de California. (Www.sucorte.ca.govj o ponidndose en contacto con la corte o el
          colegio de abogados locales. AVISO; Por ley, la code tieno derochoa roclamar las cuotas y los costos oxontos porimponerun gravamen sabre
          cualquierrocupcracidn do $10,000 6 mas de valor rtxibida modianto un acuordo o una concosion do arbitroje on un caso do dorecho civil. Tienoquo
          pagar el gravamen do la corto antos do quo la corto puoda dosodhar ol caso.
        The name and address of the court is:                                                                      CASE NUMBER:
                                                                                                                   (NUrneru del Caso).
        (El nombre y direccidn de la corte es): LOS ANGELES SUPERIOR COURT
         STANLEY MOSK COURTHOUSE                                                                                     1 9STCV2741 6
         111 N. HILL STREET, LOS ANGELES, CA 90012
        The name, address, and telephone number of plaintiff’s attorney, or plaintiff without an attorney, is:
        (El nombre, la direccidn y et numero de telefono del abogado del demandante. o de! demandante qua no tiene abogado. es):
         M. Elizabeth Graham, Grant & Eiscnhofcr,lOl California Street, Ste 2710, San Francisco, CA (415) 365-9585
                                                     Sherri R. Carter Executive Officer / Clerk of Court
         DATE:                                                               Clerk, by                                                                           , Deputy
         (Fecha)
                       08/05/2019                                            (Secretario)                         Romunda Clifton                                 (Adjunto)
        (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
        (Para prueba de entraga de esta citation Use el formulario Proof of Service of Summons, (POS-010)).
                                          NOTICE TO THE PERSON SERVED: You are served
         (SEAL!
                                          1. I  I as an individual defendant.
                                         2. |   | as the person sued under the fictitious name of (specify):


                                              3. CS3 on behalf of (specify): MATCH GROUP, INC
                                                  under:          CCP 416.10 (corporation)                (~~~~| CCP 416.60 (minor)
                                                           I    I CCP 416.20 (defunct corporation)        |    | CCP 416.70 (conservatee)
                                                           (    | CCP 416.40 (association or partnership) |    | CCP 416.90 (authorized person)
                                                 ___ l      I other (specify):
                                              4. I  I by personal delivery on (date):
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                                       Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Stephen Goorvitch




                    1         M. Elizabeth Graham, CA 143085
                   2
                              Grant & Eisenhofer, P.A.
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                   3
                              San Francisco, California 94111
                              Phone: (415) 365-9585
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                              Fax: (415)365-9650
                              Email: egraham@gelaw.com
                   5         Additional Counsel for Plaintiff on
                   6         Signature Page
                                        IN THE SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                   7
                                    COUNTY OF LOS ANGELES - UNLIMITED CIVIL JURISDICTION
                   8
                   9
                 10         ROSETTE PAMBAKIAN,                                                             CASE NO._________________

                 11                                           Plaintiff,                                   COMPLAINT FOR DAMAGES AND
                                                                                                           DEMAND FOR JURY TRIAL
                 12                    v.
                                                                                                               (1)Negligence
                 13         GREGORY BLATT,                                                                     (2) Intentional Infliction of Emotional
                            IAC/INTERACTIVIi CORP. and                                                             Distress
                 14         MATCH GROUP, INC.                                                                  (3) Sexual Battery (Civ. Code §
                                                                                                                   1708.5)
                 15                                           Defendants.                                      (4) Gender Violence (Civ. Code §
                                                                                                               (5)Ral^ili Act Violation (Civ. Code §
                 16
                 17                                                                                            (6) Negligent Misrepresentation
                                                                                                               (7) Wrongful Termination (Labor
                 18                                                                                                Code § 1102.5)
                                                                                                               (8) Retaliation for Engaging in
                 19                                                                                                Protected Activity (Gov. Code §
                                                                                                                   12940)
                20                                                                                         JURY TRIAL DEMANDED
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  1         Plaintiff Rosette Pambakian, (“Plaintiff’) by her attorneys, files this Complaint
  2   seeking judgment against Defendants GREGORY BLATT (hereinafter, “Defendant
  3   Blatf’), IAC/INTERACTIVE CORP. (hereinafter, “IAC”) AND MATCHGROUP,
  4   INC. (hereinafter, “Match Group” or “Match”) (collectively, “Defendants”) for
  5   claims arising from a sexual assault perpetrated by Defendant Blatt on
  6   Ms. Pambakian while both were employed at Tinder, Inc., the subsequent cover-up
  7   by Defendants, and the retaliatory wrongful termination of Ms. Pambakian, and
  8   alleges as follows:
  9                              I.    SUMMARY OF CLAIMS
 10          1.    This case is about the abuse of the personal rights and well-being of
 11   Plaintiff, Rosette Pambakian, a successful marketing executive, by an insidious
 12   corporate culture that emphasized profit at all costs. Plaintiff was one of the earliest
 13   executive hires and the longest standing female executive at the dating app Tinder,
 14   until her retaliatory termination in 2018. While at an outside public relations agency,
 15   Plaintiff spearheaded the launch of Tinder in 2012. In 2014, she officially joined the
 16   company as Tinder’s Head of Communications, where she was essential to building
 17   the company from its early startup phase into the world’s most popular dating app, a
 18   multi-billion dollar enterprise and technology innovator.
 19         2.     Plaintiff has been credited as an integral part of Tinder’s success.
 20   Several Tinder founders have commented that Tinder could not have gotten where it
 21   did without the expertise and dedication of Plaintiff. When parent company Match
 22   marked its IPO in November 2015, due in large measure to the success of Tinder,
 23   Ms. Pambakian was invited to the NASDAQ trading floor for the ceremonial ringing
 24   of the bell. She was named one of the 40 under 40 by PR Week, one of Refinery 29’s
 25   Top Women in Tech, and included in Cosmopolitan Magazine’s Millennial Power
 26   List, all for her work at Tinder. Plaintiffs career was on the rise until she was
 27   sexually assaulted by the CEO of Match Group and Tinder, Gregory Blatt.
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                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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  1         3.      Before stepping in, and while serving as, interim CEO of Tinder,
  2   Defendant Blatt was .also the .CEO .and Chairman .at Match Group. Match Group and
  3   its parent company IAC (hereinafter, “Company Defendants”), owned Tinder.
  4   However, when Defendant Blatt and his team arrived at Tinder, they brought IAC
  5   and Match Group’s misogynistic culture with them.
  6         4.      Defendant Blatt Las a reputation for being a notorious bully, known for
  7   volatile outbursts and vindictive retribution. Plaintiff endured Defendant Blatt’s
  8   inappropriate behavior throughout their working relationship, culminating in
  9   December 2016 when he physically and sexually assaulted Plaintiff.
 10         5.      As soon as the Company Defendants became aware of Defendant Blatt’s
 11   assault and the events leading up to it, including the cultivation of a harassing work
 12   environment that rewarded men like Defendant Blatt, the Company Defendants
 13   began a campaign to cover up the assault and disparage Plaintiff. Indeed, a
 14   meaningful “investigation” of Plaintiff s complaint about Defendant Blatt’s assault,
 15   which was required under IAC and Match company policies, and California law,
 16   never occurred. The Company Defendants failed to interview a key eyewitness and
 17   ignored damning facts, because the Company Defendants did not want to risk their
 18   bottom line. Rather, Plaintiff was marginalized, subject to additional harassing,
 19   offensive, and insulting behavior, put on administrative leave, publicly accused of
 20   consenting to her attacker’s advances, and finally, wrongfully terminated by
 21   Defendants.
 22                                       II.    PARTIES
 23         6.      Plaintiff is an individual who was and is at all times relevant to the
 24   claims alleged herein, a resident of Los Angeles County, California. At all times
 25   relevant to the claims herein, Plaintiff was employed and worked at Tinder
 26   headquarters in Los Angeles, California.
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                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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  1          7.     Tinder, Inc. (“Tinder), at all times relevant to the claims alleged herein,
  2   was a Delaware corporation with its principal place of business in Los Angeles,
  3   California. From March 11, 2013 to July 13, 2017, Tinder was a Delaware
  4   corporation owned by Match Group. On July 13, 2017, Match Group merged Tinder
  5   into itself. On information and belief, Match Group assumed all of Tinder’s
  6   liabilities .and .obligations, including .time arising from Plaintiffs.sexual .assault, the
  7   inadequate investigation of Plaintiff s complaints about the assault, and Defendants’
  8   subsequent attempts to cover up both the events giving rise to Plaintiffs complaints
  9   and Plaintiffs complaints themselves.
 10          8.     Defendant Gregory Blatt is an individual, who at all times relevant to the
 11   claims alleged herein, was employed by Defendant Match Group and maintained an
 12   office at Tinder headquarters in Los Angeles, CA.
 13          9.     Defendant LAC, is, and at all relevant times mentioned herein was a
 14   corporation organized under the laws of the State of Delaware. At all relevant times
 15   mentioned herein, IAC’s primary place of business was located in New York, New
 16   York. IAC owns or controls Match Group, Inc.
 17          10.    Defendant Match Group is, and at all relevant times mentioned herein,
 18   was a corporation organized under the laws of the State of Delaware. At all relevant
 19   times mentioned herein, Match Group’s primary place of business was located in
 20   Dallas, Texas. Before Match became a public company on November 19, 2015, it
 21   was a wholly owned subsidiary of IAC. Since November 19, 2015, IAC has owned a
 22   majority of Match Group’s outstanding shares.
 23                           III.   JURISDICTION AND VENUE
24           11.    This Court has jurisdiction over this action pursuant to California Code
25    of Civil Procedure § 410.10. Plaintiffs seek damages under the statutory and
26    common law of the State of California.
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  1           12.    Venue is proper in this Court pursuant to California Code of Civil
  2   Procedure § 395 because (a) some of the acts and transactions described herein
  3   occurred within this county, including Plaintiffs employment with Defendants, the
  4   sexual assault of Plaintiff, the resulting “investigation,” and ultimate termination of
  5   Plaintiff; (b) some Defendants are or were registered to do business in the State of
  6   California and/or are or were doing business within this county; and (c) Defendants
  7   did do business in this county by operating and/or exercising complete control over
  8   the operations of the company formerly known as Tinder, Inc.
  9                 IV.   FACTS COMMON TO ALL CAUSES OF ACTION
 10   A.     Defendant Blatt’s Sexual Assault of Plaintiff
 11          13.     In December 2016, Plaintiff was the longest standing (and one of the
 12   only) female executives at Tinder. Plaintiff held the executive position of Vice
 13   President of Global Communications and Brand. Her role eventually expanded to
 14   Head of Marketing and Communications, managing an in-house group of more than
 15   40 people, as well as external agencies and consultants. Publicly, she served as the
 16   face of the brand on panels and in the press.
 17          14.     During all events described herein, Defendant Blatt was the CEO and
 18   Chairman of Match Group, as well as the CEO of Tinder, and directly in charge of
 19   Plaintiff.
 20          15.     On December 9, 2016, Tinder held its holiday party at the SLS Hotel in
 21   Beverly Hills Hotel, in Los Angeles, California. Plaintiff attended the party. Several
 22   Tinder employees had rooms at the hotel, paid for by Tinder, including Witness No.
 23   1, Defendant Blatt’s Executive Assistant.
 24          16.    At the party, Defendant Blatt approached Plaintiff and said to her in a
 25   lewd voice, in sum and substance, “I get hard every time I look at you” and “Let’s get
 26   out of here.” Plaintiff was stunned.   Defendant Blatt’s conduct was so aggressive
 27   that Plaintiff feared that Defendant Blatt might actually act on it. Plaintiff quickly
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  1   walked away from Defendant Blatt, found a colleague and close friend, Witness No.
  2   2, and went upstairs to friend and colleague, Witness No. 1 ’s hotel room, in an
  3   attempt to distance herself from Defendant Blatt.
  4          17.   Plaintiff, Witness No. 1 and Witness No. 2, were upstairs in Witness No.
  5   1 ’s hotel room at approximately 2:00 AM when, Defendant Blatt texted Witness No.
  6   1. Plaintiff asked Witness No. 1 not to tell Defendant Blatt where they were. Several
  7   minutes later, there was a knock at the door. Witness No. 1 answered the door and
  8   Plaintiff saw that Defendant Blatt had arrived at the room. When Defendant Blatt
  9   arrived, Plaintiff was sitting on the bed.
 10         18.    Immediately upon entering the room, Defendant Blatt went straight for
 11   Plaintiff who was sitting on the bed. Defendant Blatt climbed on top of Plaintiff and
 12   pulled her backwards so that Plaintiff was lying beside him with his arm draped over
 13   Plaintiff. Defendant Blatt then began forcibly groping Plaintiffs breasts and upper
 14   thighs, and kissing her shoulders, neck and chest—all without Plaintiffs consent.
 15   Then, Defendant Blatt said, sum and substance, “Turn off the lights.” In a state of
 16   shock and disbelief, Plaintiff was also acutely aware of the subordinates in the room,
 17   and made the decision to de-escalate the situation and not cause a further scene.
 18   Plaintiff began to pull away from Defendant Blatt and said, in sum and substance,
 19   “Ok, we are all hungry; I’m going to order food.” Defendant Blatt then removed his
 20   hands from Plaintiff enabling her to stand up.
 21         19.    Plaintiff, Defendant Blatt, Witness No. 1 and Witness No. 2 remained in
 22   Witness No. 1 ’s room waiting for the food to arrive. At some point after the food
 23   was ordered, Defendant Blatt again pushed Plaintiff onto the bed and began groping
 24   her and attempting to kiss her. While again attempting to end Defendant Blatt’s
 25   unwanted sexual contact and remove herself from his immediate proximity, Plaintiff
 26   announced it was time to leave. Witness No. 1, begged Plaintiff not to leave her
 27   alone with Defendant Blatt. Plaintiff and Witness No. 2 waited until Defendant Blatt
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  1   left in his car service to request separate Ubers and went to the lobby to await their
  2   respective rides.
  3   B.       The Aftermath of Blatt’s Assault
  4            20.   Defendant Blatt was the CEO of Tinder, the Chairman and CEO of
  5   Match Group, and Plaintiffs boss. Plaintiff knew that Defendant Blatt was a
  6   powerful man, a long-time executive at Match Group and IAC, and feared retaliation
  7   and the loss of her job at Tinder. Plaintiffs fears were based on Defendant Blatt’s
  8   reputation for openly behaving inappropriately toward women without any
  9   consequences. Defendant Blatt seemed untouchable.
 10            21.   Plaintiff feared damage to her reputation and a change in how she would
 11   be perceived by her subordinates and colleagues if her assault were made public.
 12   Plaintiff also feared damage to Tinder’s business, which she had worked years to
 13   build.
 14            22.   The morning after the sexual assault, Plaintiff asked Witness No. 1 and
 15   Witness No. 2 not to share what had happened with anyone.
 16            23.   Two days after the assault, Defendant Blatt called Plaintiff into his
 17   office and apologized profusely for his actions the night of the holiday party. Faced
 18   with the reality that she would have to continue to work with and be supervised by
 19   Defendant Blatt—the new CEO of Tinder—and scared of the consequences to her
 20   working relationships and reputation if the sexual assault were made public, Plaintiff
 21   and Defendant Blatt agreed to quash the incident and not to speak of it again.
 22   C.       Plaintiff Reported the Assault to Her Supervisor
 23            24.   Several days after the sexual assault, Plaintiff attended a Tinder/Match
 24   Communications Team Dinner. Also present was Vice President of Public Affairs
 25   for Match Group, Matt David, to whom Plaintiff also reported. At all times relevant
 26   herein, Mr. David reported directly to Defendant Blatt.
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   1         25.    During this dinner, Plaintiff told Mr. David about the sexual assault.
  2    Plaintiff felt that it was necessary to report Defendant Blatt’s actions to Mr. David
   3   both because Defendant Blatt’s actions were unacceptable and because she feared a
  4    potential public relations crisis as there were witnesses to the assault.
   5         26.    In response, Mr. David said nothing. However, Mr. David’s expression
  6    was one of shock.
  7          27.    On information and belief, rather than comply with the obligations
  8    placed on him to report any such complaints to Human Resources, Mr. David did not
  9    report Defendant Blatt’s misconduct to Human Resources.
 10    D.    The Company Defendants’ Inadequate and Biased “Investigation”
 11          Amounts to a Cover-Up of Defendant Blatt’s Misconduct
 12          28.    On information and belief, Sean Rad, former Tinder CEO and then-
 13    Tinder Chairman, began hearing rumors of Defendant Blatt’s disturbing behavior
 14    toward Plaintiff at the Holiday Party from multiple sources, including indirectly from
 15    Witness No. 1. Mr. Rad took Plaintiff aside, told her that he heard something
 16    happened at the holiday party, and asked her if there was anything she wanted to tell
 17    him. Plaintiff relayed to Mr. Rad what Defendant Blatt said to her at the holiday
 18    party and how he assaulted her in Witness No. 1 ’s hotel room.
 19          29.    On information and belief, Mr. Rad reported Defendant Blatt’s sexual
 20    assault of Plaintiff to Gregg Winiarski, Executive Vice President and General
 21    Counsel of IAC, Joey Levin, CEO of IAC, and Jared Sine, Chief Legal Officer of
 22    Match Group. On information and belief, Mr. Rad also discussed the incident with
 23    Lisa Nelson, Chief Human Resources Officer at Match Group and Tinder. On
 24    information and belief, Ms. Nelson told Mr. Rad that she was contemplating quitting
 25    her job because of Defendant Blatt’s alleged behavior. On information and belief,
 26    Mr. Rad thereafter learned that there would be an investigation and that Mr. Sine and
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                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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   1   Ms. Nelson would be running it. Both of these individuals reported directly to
  2    Defendant Blatt.
  3           30.     On information and belief, Mr. Rad expressed his fears that the
  4    investigation was biased, because two executives who reported directly to Defendant
  5    Blatt, the subject of the investigation, were in fact in charge, but his concerns fell on
  6    deaf ears.
  7           31.     On information and belief, after Mr. Rad reported Defendant Blatt’s
  8    assault, Mr. Rad started receiving threats from Match executives that if he did not
  9    stop pursuing the investigation into Defendant Blatt’s misconduct he would face
 10    retribution.
 11           32.     Mr. Rad pressed Tinder and Match Board members for a meeting of
 12    Tinder’s Board of Directors to discuss Defendant Blatt’s assault on Plaintiff, to no
 13    avail. On information and belief, Defendant Blatt emailed the board members and
 14    discouraged them from speaking to Mr. Rad.
 15           33.     On information and belief, Matt Cohler, a General Partner of
 16    Benchmark and then-Tinder Board member, told Mr. Rad that there was no reason
 17    for a board meeting, and that the Tinder Board could not do anything until Plaintiff
 18    formally “reported” the assault—notwithstanding the fact that she already had
 19    reported it to her direct supervisor (Mr. David) and Tinder’s Chairman (Rad).
 20           34.     On information and belief, Mr. Rad spoke with a then-Match Board
 21    member, to express concern about the way Plaintiffs complaint was being handled.
 22    Consistent with their corporate culture emphasizing profit over people, the Match
 23    Board Member assured Mr. Rad he had nothing to worry about because, in sum and
 24    substance, “everyone [was] going to make a lot of money.”
 25           35.     On information and belief, the Tinder Board of Directors was never
 26    convened regarding Defendant Blatt’s sexual assault of Plaintiff.
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                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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   1          36.   On April 28, 2017 - which, on information and belief, was
   2   approximately one day after Mr. Rad reported Defendant Blatt’s sexual assault of
   3   Plaintiff to Defendants IAC and Match Group executives - Defendant Blatt exercised
   4   approximately 5 million stock options in Match Group, realizing over $44 million in
   5   value. The questionable timing of this transaction cannot be ignored, given the affect
   6   a scandal of this magnitude could have on Match Group’s stock price if made public.
   7          37.    On or about April 30, 2017, Plaintiff was approached by Lisa Nelson,
   8   Chief Human Resources Officer to discuss the sexual assault. Plaintiff was leery of
   9   speaking with Ms. Nelson, as Plaintiff was aware that Ms. Nelson was very closely
  10   linked to Defendant Blatt, having worked with him for many years, and that she
  11   reported directly to him.
  12          38.   Plaintiff told Ms. Nelson that she was reluctant to talk with her and
 13    wanted to ensure confidentiality out of fear of retaliation by Defendants. Only after
 14    Ms. Nelson assured Plaintiff of the confidentiality of her statements did Plaintiff
 15    agree to speak to Ms. Nelson.
 16          39.    When Plaintiff met with Ms. Nelson, Jared Sine, Chief Legal Officer at
 17    Match, was also present. Plaintiff confirmed the sexual assault.
 18          40.    On May 3, 2017, Plaintiff was asked to meet with Ed Ferguson, Vice
 19    President and Associate General Counsel at IAC, and Mr. Sine. During this meeting,
 20    Plaintiff again recounted Defendant Blatt’s assault. Mr. Ferguson told Plaintiff that
 21    they had spoken to Defendant Blatt and he had insinuated that it was consensual. In
 22    response, Plaintiff told the men that Defendant Blatt had approached her earlier at the
 23    Holiday Party and said, “I get hard every time I look at you,” and “Let’s get out of
 24    here.” She explained that she immediately walked away embarrassed, stunned, and
 25    concerned that he might actually try to act on it. Both Mr. Ferguson and Mr. Sine
 26    expressed shock and were appalled by Defendant Blatt’s actions. Both apologized to
 27    Plaintiff for having to endure such an incident.
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   1         41.    Just one day following her meeting with Mr. Sine and Mr. Ferguson,
   2   despite assurances of confidentiality and privacy, Defendant Blatt emailed Plaintiff
   3   and his Executive Assistant, Witness No. 1, asking both women to participate in
   4   separate video conferences with him. Plaintiff knew in that moment that Defendants’
   5   promise of confidentiality had been violated and that information was going from
   6   Human Resources and Defendants IAC and Match Group’s Legal Counsel to
   7   Defendant Blatt.
   8         42.    Plaintiff did not respond to Defendant Blatt’s email and did not attend
   9   the video conference, but, upon information and belief, Witness No. 1 did. After the
  10   video conference, Witness No. 1 group-texted Plaintiff and Chief Human Resources
  11   Officer Lisa Nelson and told them, in sum and substance, that Defendant Blatt knew
  12   everything that they had said to Ms. Nelson and Mr. Sine. During a phone
  13   conversation later that day, Witness No. 1 told Plaintiff that Defendant Blatt had
  14   begged her not to continue cooperating in the investigation as it would ruin his life
  15   and his family.
  16         43.    After talking with Witness No. 1, Plaintiff responded to the group text
  17   that she did not feel comfortable talking further about what happened until she
  18   consulted with a lawyer. Ms. Nelson responded that she understood. After this text,
  19   Plaintiff was no longer contacted as part of the “investigation.”
 20          44.    The purported “investigation” Company Defendants conducted did not
 21    comply with either California law or their own internal policies. The Company
 22    Defendants used the investigation as an attempt to cover-up and conceal the
 23    misconduct of Defendant Blatt.
 24          45.    For example, Defendants’ purported “investigators” failed to interview
 25    one of the two eyewitnesses to the sexual assault, Witness No. 2. Instead, among
 26    those two eyewitnesses, Defendants only interviewed Witness No. 1 - Defendant
 27    Blatt’s Executive Assistant. As Witness No. 2 was present in the room, and
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   1   witnessed the assault, no adequate investigation could be conducted without
   2   interviewing Witness No. 2. Furthermore, while the purported “investigation” was
   3   ongoing, Defendants required Plaintiff to continue to report to Defendant Blatt. The
   4   Company Defendants also told Defendant Blatt information provided by Plaintiff and
   5   other witnesses, violating promises of confidentiality.
   6          46.   In or around July 2017, a reporter from Tech Crunch began asking
   7   Plaintiff questions about rumors of sexual misconduct at Tinder by high-level Match
   8   Group executives. A few months later, Plaintiff learned that the same reporter was
   9   still investigating, and that the story was about Plaintiffs own assault at the hands of
  10   Defendant Blatt.
  11          47.   Plaintiff informed Defendant Blatt and Chief Human Resources Officer,
  12   Ms. Nelson, about the reporter’s inquiry. Defendant Blatt, Plaintiffs own
  13   perpetrator, asked Plaintiff to talk with the reporter to explain the ways Tinder
  14   combats sexual harassment, and to throw the reporter off the story. Plaintiff refused
  15   to comply with Blatt’s instruction, and referred the reporter to the Head of
  16   Communications at IAC.
  17         48.    In or around October 2017, when it became apparent that Defendant
  18   Blatt and Company Defendants could no longer get Plaintiff to say or do whatever
  19   Defendants needed or wanted to cover-up the assault, they asked Plaintiff to sign a
 20    non-disclosure/disparagement agreement (“NDA”) concerning the sexual assault and
 21    investigation, in exchange for increased compensation. Chief Human Resources
 22    Officer at Match Group and Tinder, Lisa Nelson, approached Plaintiff and said in
 23    sum and substance that she and Defendant Blatt would petition the Compensation
 24    Committee to increase Plaintiffs compensation if she signed the NDA. During that
 25    conversation, Ms. Nelson said to Plaintiff, in sum and substance, “We want to put
 26    this terrible ordeal behind us.” Plaintiff declined to sign.
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   1          49.   After declining to sign the NDA, Plaintiff became aware that Defendant
   2   Blatt was going to resign as Tinder CEO. During a conversation with Plaintiff,
   3   Defendant Blatt, and another male executive, the male executive asked Defendant
   4   Blatt what it would take to get Defendant Blatt to stay. Defendant Blatt turned to
   5   Plaintiff and said in sum and substance, “Well, you would have to sign something.”
   6   Defendant Blatt immediately walked it back, saying in sum and substance to Plaintiff,
   7   “Never mind, I shouldn’t have said that, I could get in big trouble.” It was then clear
   8   that Defendant Blatt was being asked to resign because of his sexual assault of
   9   Plaintiff.
  10          50.   Upon information and belief, even after resigning, Defendant Blatt
  11   retained his Tinder and Match Group email accounts, worked from the IAC Office
  12   for several months, and appeared actively involved in Defendants IAC and Match
  13   Group’s business. Defendant Blatt also continued to “check in” on Plaintiff to ensure
  14   she would not speak out publicly.
  15          51.   Through their actions and inaction, Company Defendants violated their
  16   own internal policies. IAC and Match Group’s stated policy is to be “good corporate
  17   citizen(s)” and “committed to full, prompt, and fair enforcement” of their Code of
 18    Ethics. The Code of Ethics states that, upon reporting of a violation of the Code of
 19    Ethics, IAC and Match Group legal departments shall investigate all relevant facts.
 20    IAC and Match Group’s Code of Ethics also specifically prohibits retaliation.
 21           52.   Pursuant to the Code of Ethics, “In conducting and monitoring
 22    investigations, the IAC Legal Department shall consult and coordinate as appropriate
 23    with senior management, the Internal Audit Department, the Human Resources
 24    Department, and the Audit Committee, and shall seek to ensure that the provisions of
 25    the Code of Ethics are applied and enforced consistently across the population of
 26    covered persons and across IAC business.” Match Group’s Code of Ethics has this
 27    identical provision.
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   1         53.    IAC and Match Group also have a stated policy against harassment.
  2    Pursuant to this policy, “It is the policy of IAC/InterActiveCorp and its Operating
  3    Businesses and Corporate Office ... to be committed to a workplace free of
  4    discrimination or harassment. Harassment of applicants or employees on the basis of
  5    . . . sex, including sexual harassment, is unacceptable and will not be tolerated.”
  6          54.    IAC and Match Group’s Policy defines sexual harassment as “offensive
  7    or unwelcome sexual advances, verbal comments or innuendo of a sexual nature. . ..
  8    Comments, physical touching of another person . . . may also constitute sexual
  9    harassment.” Pursuant to this policy, “Human Resources will investigate all reports
 10    of harassment promptly and thoroughly.”
 11          55.    All of these policy statements turned out to be false and misleading.
 12          56.    The Company Defendants disregarded their stated policies when the
 13    allegations were against CEO Defendant Blatt. Instead, they engaged in a sham
 14    investigation conducted by biased executives in an effort to conceal and discredit the
 15    sexual assault suffered by Plaintiff.   Only when faced with the fact that they could
 16    no longer keep the assault quiet, did the Company Defendants take any action.
 17          57.    The Company Defendants were willful, wanton, reckless, negligent in
 18    overseeing and supervising and grossly negligent as a result of its employee, agent
 19    and/or servant’s acts as follows:
 20                 a. In failing to supervise and control Defendant Blatt’s sexual
 21                    misconduct;
 22                 b. In failing to conduct an unbiased, independent, prompt, and legally
 23                    compliant investigation;
 24
                    c. In retaining Defendant Blatt as CEO for approximately 10 months
 25
                       after he assaulted Plaintiff;
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                    d. In failing to use ordinary skill and care to protect Plaintiff; and

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   1                  e. In such other ways as will become evident during discovery.
  2             58.   The Company Defendants’ knowing acquiescence and silence with
  3    respect to the known, or reasonably knowable, activities of Defendant Blatt
  4    constituted a course of conduct through which Defendant Blatt’s sexual assault of,
  5    and retaliation against, Plaintiff was condoned, approved and authorized. The
  6    Company Defendants’ actions made clear that, but for the reporters learning of the
  7    assault, the Company Defendants would have taken no action against Defendant
  8    Blatt.
  9             59.   Through the Company Defendants’ failure to timely investigate
 10    Plaintiffs complaint and/or reprimand and sanction the acts referenced herein, and
 11    for all of the other reasons set forth in this Complaint including, without limitation,
 12    their failure to take the steps necessary to prevent and/or independently investigate
 13    the occurrence of such reprehensible acts, the Company Defendants ratified said
 14    actions and, accordingly, are vicariously liable for the actions of Defendant Blatt.
 15    E.       Plaintiffs Retaliatory and Wrongful Termination
 16             60.   On August 14, 2018, Plaintiff filed a lawsuit with several others
 17    regarding the valuation of her stock options, alleging in part that when Plaintiffs
 18    assault was reported to Defendants IAC and Match Group executives, they failed to
 19    properly investigate and take timely corrective action against Defendant Blatt. The
 20    suit alleged that the Company Defendants failed to act because they needed
 21    Defendant Blatt, whom as CEO and the highest-ranking executive in charge of the
 22    valuation process of Tinder, was the lynchpin in Company Defendants’ scheme to
 23    undervalue Tinder and decrease the amount Plaintiff and her fellow Tinder stock
 24    holders would receive in exercising their stock options by billions of dollars.
 25             61.   The next day, the Company Defendants placed Plaintiff on “leave.”
 26             62.   The Company Defendants immediately revoked Plaintiffs email
 27    account—forcing incoming emails to bounce back to the sender—removed her
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  1   nameplate from her office door, and turned her office into a conference room. Within
  2   one month, and three months before officially terminating Plaintiff, the Company
  3   Defendants hired a new Chief Marketing Officer to replace her.
  4         63.    On December 18, 2018, Plaintiff received notice via e-mail that Tinder
  5   was terminating her employment. Upon information and belief, Defendants
  6   terminated Plaintiff in retaliation for speaking out against Defendant Blatt for his
  7   sexual misconduct and for participating in a lawsuit against the Company Defendants
  8   related to her stock options.
  9         64.    As a result of these actions, Plaintiff was forced to surrender millions of
 10   dollars in equity granted to her as compensation for her work as an executive at
 11   Tinder.
 12   F.    The Company Defendants Fostered a Misogynistic Work Culture that
 13         Promoted Sexual Harassment and Assault
 14         65.    The Company Defendants promoted a misogynistic culture where
 15   female employees were marginalized and sexually harassed on a regular basis. From
 16   the time that Defendant Blatt and other Company Defendants’ executives arrived
 17   from Match Group at Tinder, it became clear that their corporate culture and
 18   managerial style was not respectful towards women, including Plaintiff.
 19         66.    After Defendant Blatt arrived, he quickly made it difficult for Plaintiff to
 20   do her job effectively. Because she was a young woman, Defendant Blatt treated
 21   Plaintiff differently than other executives. Despite her experience and track record as
 22   a successful marketing executive, Defendant Blatt did not take Plaintiff seriously.
 23   On more than one occasion when Plaintiff disagreed with him and/or addressed
 24   Defendant Blatt in a professional tone in meetings, Defendant Blatt responded by
 25   asking Plaintiff to leave the meetings and come back “when [her] attitude changed.”
 26         67.    On another occasion, Plaintiff was told by a fellow marketing executive,
 27   that when he asked Defendant Blatt about a budget for activities to boost the
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  1   marketing team’s morale, Defendant Blatt said: Plaintiff and two of her female team
  2   members “were the team morale,” because in his view “they were hot.” The male
  3   executives then joked about how one of the women did not count “because she had
  4   peaked” and “wasn’t getting any prettier, so she needed to get married tomorrow.”
  5   This is but one example of how Defendant Blatt objectified women in his employ and
  6   spread a misogynistic work culture, which promoted sexual harassment and assault.
  7          68.   Out of a sense of responsibility to protect the company she had helped
  8   build, Plaintiff fought against Match Group’s misogynistic culture, to her detriment.
  9   Behind the scenes Plaintiff fought for equal pay for the women on her team who were
 10   grossly underpaid compared to male counterparts, asked for an official pay audit to
 11   be conducted, promoted women to titles equal to male counterparts, advocated for the
 12   company to cover egg-freezing for its female employees, advocated for a more
 13   female centric approach to product development, and asked for an anonymous
 14   reporting tool be implemented by Human Resources for reporting complaints of
 15   sexual harassment within the company. Her efforts to advance women’s rights
 16   within the company and on the platform were so contrary to Defendants’ culture that
 17   they led to threats of violence and a covert smear campaign on Twitter by one male
 18   employee. In yet another example of how Defendants marginalized Plaintiff and
 19   emphasized profit over people, when they discovered the male employee who was
 20   responsible for a smear campaign and threats against Plaintiff, Defendants allowed
 21   him to quietly resign, rather than fire him and risk a scandal.
 22         69.    As a direct and proximate result of the foregoing, Plaintiff has suffered,
 23   and continues to suffer, severe emotional distress. Plaintiff has suffered, and
 24   continues to suffer great pain of mind and body, shock, emotional distress, physical
 25   manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,
 26   humiliation and loss of enjoyment of life; was prevented and will continue to be
 27   prevented from performing Plaintiffs daily activities and obtaining the full
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  1   enjoyment of life; and/or has suffered a loss of income and/or loss of earning
  2   capacity.
  3         70.    Defendants and each of them, engaged in the conduct alleged herein
  4   with malice, oppression, and fraud. The conduct of Defendants, and each of them,
  5   was despicable and was done with a willful and knowing disregard of the rights or
  6   safety of Plaintiff. Defendants, and each of them, knew that Defendant Blatt engaged
  7   in sexual misconduct against Plaintiff, yet they continued to retain him as CEO and
  8   allowed him to retaliate against Plaintiff. Defendants’ conduct was despicable and
  9   subjected Plaintiff to cruel and unjust hardship in knowing disregard of her rights.
 10   Their conduct was so vile, base, and contemptible that it would be looked down on
 11   and despised by reasonable people. Defendants intentionally conducted a biased
 12   “investigation” of Defendant Blatt’s sexual assault of Plaintiff with reckless
 13   indifference toward Plaintiffs health, safety, and emotional well-being. Defendants’
 14   conduct alleged herein is outrageous and so extreme that it goes beyond all possible
 15   bounds of decency. A reasonable person would regard the conduct of Defendants as
 16   intolerable in a civilized community.
 17   V.    CAUSES OF ACTION
 18                               FIRST CAUSE OF ACTION
 19                    (AGAINST DEFENDANTS MATCH AND IAC1
 20                                           Negligence
 21         71.    Plaintiff incorporates herein by reference, as though set forth in full, all
 22   proceeding Paragraphs of this Complaint.
 23         72.    Prior to the incidents, Defendants Match Group and IAC, and each of
 24   them, expressly and implicitly warranted to Plaintiff that Defendants, in the event of
 25   a sexual assault at the Company, would provide a thorough and unbiased
 26   investigation and take immediate action to address such an occurrence.
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  1         73.    At all relevant times herein Defendant Blatt, while in the course and
  2   scope of his employment with Company Defendants, intended to cause harmful or
  3   offensive contact with intimate parts of Plaintiff, and sexually offensive contact with
  4   Plaintiff directly and indirectly resulted therefrom.
  5         74.    At all relevant times herein, Defendant Blatt, while in the course and
  6   scope of his employment with Company Defendants, acted to cause Plaintiff to be in
  7   imminent apprehension of sexually offensive contact, and sexually offensive contact
  8   with Plaintiff directly and indirectly resulted therefrom.
  9         75.    The Company Defendants owed to the public in general, and to Plaintiff
 10   in particular, a duty to reasonably and promptly identify, remove, and/or report to law
 11   enforcement authorities and/or to government agencies individuals who it knew, or
 12   should have known, were sexual predators in its employ. The Company Defendants
 13   owed to the public in general, and to Plaintiff in particular, a duty to reasonably
 14   supervise and/or monitor individuals who it knew, or should have known, were
 15   sexual predators in its employ. The Company Defendants owed to Plaintiff a duty to
 16   control the acts of their agents, servants, and/or employees.
 17         76.    The acts and omissions of The Company Defendants complained of
 18   herein constitute negligent and reckless hiring, training, supervision, and retention of
 19   Defendant Blatt. It was foreseeable that if the Company Defendants did not
 20   adequately exercise or provide the duty of care owed to female employees in their
 21   care, including, but not limited to Plaintiff, they would be vulnerable to sexual
 22   misconduct by Defendant Blatt. Based on the acts alleged above, The Company
 23   Defendants knew, or should have known, that their failure to exercise due care
 24   toward Plaintiff would, and did, cause Plaintiff severe emotional distress.
 25         77.    The Company Defendants did not have in place or failed to enforce
 26   adequate, reasonable, and necessary rules, regulations, policies, and procedures that
 27   could effectively identify, and deal with sexual predators such as Defendant Blatt.
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  1   The Company Defendants did not have in place adequate, reasonable, and necessary
  2   rules, regulations, policies, and procedures for the prompt removal of sexual
  3   predators in the employ and/or service of the Company Defendants.
  4         78.    The Company Defendants failed to fulfill their legal duty to protect
  5   Plaintiff from the sexual misconduct of Defendant Blatt and the ensuing retaliatory
  6   treatment. These failures included the following: (a) failure to reasonably and
  7   investigate allegations of sexual misconduct; (b) failure to properly train and instruct
  8   investigators; (c) failure to have in place and enforce standards of acceptable and
  9   unacceptable conduct; and (d) failure to designate competent investigators to evaluate
 10   complaints of sexual misconduct.
 11         79.    Moreover, the negligent, reckless, outrageous, deliberately and
 12   recklessly indifferent and unlawful conduct of the Company Defendants, as set forth
 13   above and herein, further consisted of:
 14                a. failing to properly and adequately supervise and discipline their
 15                   employees to prevent the improper touching that occurred to
 16                   Plaintiff;
 17                b. failing to adopt, enforce and/or follow adequate policies and
 18                   procedures for the protection and reasonable supervision of female
 19                   employees, including Plaintiff, and, in the alternative, failing to
 20                   implement and comply with such procedures which had been
 21                   adopted;
 22                c. failing to implement, enforce and/or follow adequate protective and
 23                   supervisory measures for the protection of female employees,
 24                   including Plaintiff;
 25                d. creating an environment that facilitated improper touching by
 26                   Defendant Blatt on Plaintiff;
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    1                e. violating their own policies and/or by-laws regarding sexual
    2                   misconduct by employees and executive;
    3                f. ignoring, concealing, or otherwise mitigating the seriousness of the
    4                   assault perpetrated by Defendant Blatt;
    5                g. failing to properly supervise and/or discipline their employees; and
    6                h. failing to adequately and properly train their employees regarding
    7                   sexual misconduct.
    8         80.    The Company Defendants had a policy to independently investigate
    9   sexual assault/harassment, explicitly and/or implicitly represented to Plaintiff.
   10         81.    The Company Defendants made these explicit and implied
   11   representations knowing that they were false and/or having reason to believe that they
   12   were false, and with the expectation that they would be relied upon by female
   13   employees who decided to work at for The Company Defendants.
   14         82.    The Company Defendants did not have in place adequate, reasonable,
   15   and necessary rules, regulations, policies, and procedures with respect to the removal
   16   and/or supervision of individuals in its employ or service who were suspected of
   17   being sexual predators.
   18         83.   The Company Defendants failed to reasonably supervise and/or monitor
   19   individuals who it knew, or should have known, were sexual predators in their
  20    service and employ.
  21          84.    The Company Defendants further breached their duty of care to Plaintiff
  22    by failing to protect the Plaintiff from foreseeable harm from the sexual misconduct
  23    of an employee of Defendants.
  24          85.    The Company Defendants ratified the improper touching and harassment
  25    committed by Defendant Blatt by continuing to employ him and allowing him to be
  26    in charge of female employees including Plaintiff, after having actual knowledge that
  27'   Defendant Blatt had improperly touched and harassed Plaintiff.
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   1          86.    Plaintiff is informed and believes and thereon alleges that she will
   2   continue to suffer extreme mental, physical, and pain and suffering in the future as a
   3   result of the injuries alleged herein.
   4                               SECOND CAUSE OF ACTION
   5                              (AGAINST ALL DEFENDANTS)
   6                         Intentional Infliction of Emotional Distress
   7          87.    Plaintiff incorporates herein by reference, as though set forth in full, all
   8   preceding Paragraphs of this Complaint.
   9          88.    As described above, without Plaintiffs consent, the Company
  10   Defendant’ employee and CEO Defendant Blatt engaged in unlawful, sexual
  11   misconduct and harassment against Plaintiff.
  12          89.    Defendant Blatt’s sexual misconduct conduct was outrageous and he
  13   acted with reckless disregard for the probability that Plaintiff would suffer emotional
  14   distress as a result of his actions.
  15          90.    The Company Defendants allowed, adopted, approved, aided, abetted,
  16   and ratified the behavior of the Defendant Blatt by allowing him to continue to have
  17   female employees including Plaintiff report to him knowing that he had a history of
  18   sexual misconduct, including improperly touching and harassing female employees.
  19          91.    The Company Defendants employed defendant Blatt. The Company
 20    Defendants failed to adequately and promptly investigate and discipline Defendant
 21    Blatt. By allowing Defendant Blatt to continue as the CEO after each of the
 22    aforementioned incidents and failing to adequately and promptly investigate and
 23    discipline him, Defendants approved, aided and abetted, adopted, and ratified
 24    Defendant Blatt’s sexual misconduct.
 25          92.     Plaintiff is informed and believes and thereon alleges that she will
 26    continue to suffer extreme mental, physical, and pain and suffering in the future as a
 27    result of the injuries alleged herein.
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   1          93.     As a further proximate result, Plaintiff has been damaged in that she has
  2    been required to expend money and incur obligations for medical services, drugs, and
   3   sundries reasonably required in the treatment and relief of the injuries alleged
  4    according to proof. As a further proximate result, Plaintiff will continue to incur
   5   medical and related expenses.
   6          94.     The acts of Company Defendants alleged above were willful, wanton,
   7   malicious, oppressive, fraudulent, despicable, and outrageous and justify the
   8   awarding of exemplary and punitive damages.
   9                                 THIRD CAUSE OF ACTION
  10                             (AGAINST DEFENDANT BLATT)
 11                                          Sexual Battery
 12           95.     Plaintiff incorporates herein by reference, as though set forth in full, all
 13    preceding Paragraphs of this Complaint.
  14          96.     As described above, Defendant Blatt, without Plaintiffs consent,
  15   engaged in sexual misconduct, including sexual assault, against Plaintiff, all with the
  16   intent of sexual arousal in violation of Civil Code § 1708.5 and Penal Code §
  17   243.4(e)(1).
 18           97.     Plaintiff is informed and believes and thereon alleges that she will
 19    continue to suffer extreme mental, physical, and pain and suffering in the future as a
 20    result of the injuries alleged herein.
 21           98.     The acts of Defendant Blatt alleged above were willful, wanton,
 22    malicious, oppressive, fraudulent, despicable, and outrageous and justify the
 23    awarding of exemplary and punitive damages.
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   1                              FOURTH CAUSE OF ACTION
   2                            (AGAINST DEFENDANT BLATT1
   3                                         Gender Violence
   4                          Violation of California Civil Code § 52.4
   5          99.   Plaintiff incorporates herein by reference, as though set forth in full, all
   6   preceding Paragraphs of this Complaint.
   7          100. As described above, Defendant Blatt committed gender violence on
   8   Plaintiff, which constituted criminal offenses under California law, including Penal
   9   Code § 243.4, sexual battery, which includes the use, attempted use, or threatened use
  10   of physical force against a person:
  11          101. These crimes are at least in part based on the gender of Plaintiff.
  12          102. Defendant Blatt caused a physical intrusion or a physical invasion of a
  13   sexual nature under coercive conditions to Plaintiffs person in that Plaintiff was
  14   improperly touched by Defendant Blatt, all without Plaintiffs consent.
  15          103. The acts of violence as alleged above were directed at Plaintiff because
  16   she is a woman. These acts were intended to humiliate and degrade Plaintiff because
  17   she is a woman. These acts robbed Plaintiff of her dignity.
  18          104. Plaintiff is informed and believes and thereon alleges that she will
  19   continue to suffer extreme mental, physical, and pain and suffering in the future as a
  20   result of the injuries alleged herein.
  21          105. Defendant Blatt’s aforementioned conduct was accomplished
  22   intentionally and/or recklessly with conscious disregard for Plaintiffs health, safety,
  23   privacy, freedom, and human dignity. The aforementioned conduct was so
  24   outrageous in character and so extreme in degree as to go beyond all possible bounds
  25   of decency, and should be regarded as despicable, atrocious, and utterly intolerable in
  26   a civilized community. The acts of Defendant Blatt alleged above were willful,
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   1    wanton, malicious, oppressive, fraudulent, despicable, and outrageous and justify the
   2    awarding of exemplary and punitive damages.
   3           106. Plaintiff has also been required to expend attorney fees to pursue their
   4    rights under Civil Code § 52.4, and request that she be awarded all attorney fees and
   5    costs reasonably required to pursue her claims pursuant to Civil Code § 52.4.
   6                                 FIFTH CAUSE OF ACTION
   7                              (AGAINST ALL DEFENDANTS)
   8                     Freedom from Violence Pursuant to The Ralph Act
   9                      Violation of California Civil Code §§ 51.7 and 52
  10           107. Plaintiff incorporates herein by reference, as though set forth in full, all
  11   preceding Paragraphs of this Complaint.
  12           108. Defendants subjected, and/or aided and abetted in the subjection of
  13   Plaintiff to violence based on her sex, causing physical and psychological injuries to
  14    her. A motivating reason for their conduct was Plaintiffs sex.
  15           109. Plaintiff is informed and believes and thereon alleges that she will
  16    continue to suffer extreme mental, physical, and pain and suffering in the future as a
  17    result of the injuries alleged herein.
  18           110. Defendants’ conduct was a substantial factor in causing Plaintiffs harm.
  19           111. Asa result of the aforementioned conduct, Plaintiff is entitled to a
  20    $25,000.00 penalty and/or punitive damages for Defendants’ conduct in violation of
  21    Civil Code § 51.7, as well as attorney’s fees and costs pursuant to Civil Code § 52.
  22           112. The aforementioned conduct was accomplished intentionally and/or
  23    recklessly with conscious disregard for said Plaintiffs health, safety, privacy,
  24    freedom, and human dignity. Defendants’ aforementioned conduct was so
  25    outrageous in character and so extreme in degree as to go beyond all possible bounds
  26    of decency, and should be regarded as despicable, atrocious, and utterly intolerable in
  27    a civilized community. The acts of Defendants alleged above were willful, wanton,
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                                                   24
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 28 of 61 Page ID #:99




   1   malicious, oppressive, fraudulent, despicable, and outrageous and justify the
   2   awarding of exemplary and punitive damages.
   3                                SIXTH CAUSE OF ACTION
   4                             (AGAINST ALL DEFENDANTS)
   5                                Negligent Misrepresentation
   6          113. Plaintiff incorporates herein by reference, as though set forth in full, all
   7   preceding Paragraphs of this Complaint.
   8          114. All Defendants negligently misrepresented material facts to Plaintiff,
   9   namely that Defendants’ would conduct a thorough, prompt, and impartial
  10   investigation into Defendant Blatt’s sexual misconduct and harassment and that she
  11   would not suffer any retaliation by Defendants.
  12          115. Defendants negligently misrepresented material facts to Plaintiff,
  13   namely that their policies and protocol created an environment where sexual assault
  14   is not and will not be tolerated.
  15          116. Defendants made these misrepresentations under circumstances and at a
  16   time when they knew or should have known of the falsity of these representations.
 17           117. Defendants made these representations with a reckless disregard for the
  18   truth or falsity of such statements and/or with an intent to induce Plaintiff to act on
  19   the representations, which, in turn, exposed Plaintiff to harm.
 20           118. Plaintiffs justifiable reliance on Defendants’ misrepresentations resulted
 21    directly in injury to Plaintiff as described above and such injuries and damages were
 22    legally caused by the justifiable reliance upon Defendants’ misrepresentations.
 23           119. Plaintiff is therefore entitled to any and all damages resulting from
 24    Defendants’ negligent misrepresentations that are necessary to make Plaintiff whole,
 25    including, but not limited to, all damages, fees, and costs.
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                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 29 of 61 Page ID #:100




   1                             SEVENTH CAUSE OF ACTION
   2                     (AGAINST DEFENDANTS IAC AND MATCH)
   3                   Wrongful Termination in Violation of Public Policy
   4         120. Plaintiff incorporates herein by reference, as though set forth in full, all
   5   preceding Paragraphs of this Complaint.
   6         121. California law recognizes public policies that employees should be free
   7   from termination for reporting illegal activities, refusing to engage in illegal activities
   8   and for reporting sexual harassment. These public policies are embodied in Labor
   9   Code § 1102.5(b).
  10         122. Plaintiff was at all relevant times employed by the Company
  11   Defendants. The Company Defendants terminated Plaintiff, in violation of public
  12   policy embodied in Labor Code § 1102.5(b) and Article I, Section 8, of the California
  13   Constitution, for reporting illegal activities and in retaliation for making a good faith
  14   complaint about sexual harassment and assault.
  15         123. Asa proximate result of Defendants’ wrongful termination of Plaintiff,
  16   Plaintiff has sustained and continues to sustain substantial losses in earnings and
  17   other employment benefits.
  18         124. Asa proximate result of Defendants ’ wrongful termination of Plaintiff,
  19   Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
  20   mental and physical pain and anguish, all to her damage in a sum according to proof.
  21         125. Plaintiff is informed and believes, and thereupon alleges that
  22   Defendants’ actions were taken with malice, oppression, fraud, and/or willful and
  23   conscious disregard of Plaintiff s rights, and were carried out by Defendants’
  24   managing agents and/or ratified by Defendants. Plaintiff is therefore entitled to
  25   punitive damages in an amount to be determined at trial.
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                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 30 of 61 Page ID #:101




   1                               EIGHT CAUSE OF ACTION
   2                    (AGAINST DEFENDANTS IAC AND MATCH)
   3                      Retaliation for Engaging in Protected Activity
   4         126. Plaintiff incorporates herein by reference, as though set forth in full, all
   5   preceding Paragraphs of this Complaint.
   6         127. California law recognizes public policies that employees should be free
   7   from retaliation at the workplace for reporting illegal activities, refusing to engage in
   8   illegal activities and for reporting sexual harassment. These public policies are
   9   embodied in Government Code § 12940(h).
  10         128. Defendants terminated Plaintiff, in retaliation for reporting illegal
  11   activities and in retaliation for making a good faith complaint about sexual
  12   harassment and assault. Defendants’ conduct, therefore, violated the public policies
  13   that are embodied in Government Code § 12940(h) and Article I, Section 8, of the
  14   California Constitution.
  15         129. Asa proximate result of Defendants’ wrongful termination of Plaintiff,
  16   Plaintiff has sustained and continues to sustain substantial losses in earnings and
  17   other employment benefits.
  18         130. Asa proximate result of Defendants’ wrongful termination of Plaintiff,
  19   Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
  20   mental and physical pain and anguish, all to her damage in a sum according to proof.
  21         131. Plaintiff is informed and believes, and thereupon alleges that
  22   Defendants’ actions were taken with malice, oppression, fraud, and/or willful and
  23   conscious disregard of Plaintiff’s rights, and were carried out by Defendants’
  24   managing agents and/or ratified by Defendants. Plaintiff is therefore entitled to
  25   punitive damages in an amount to be determined at trial.
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                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 31 of 61 Page ID #:102




   1   VI.    RELIEF REQUESTED
   2          WHEREFORE, Plaintiff prays for judgment against Defendants and, as
   3    appropriate to each cause of action alleged and as appropriate to the standing of
   4   Plaintiff, as follows:
   5          1.     compensatory damages, including but not limited to, pain, suffering,
   6    emotional distress, loss of enjoyment of life, and other non-economic damages in an
   7    amount to be determined at trial;
   8          2.     economic damages in the form of medical expenses, out of pocket
   9   expenses, lost earnings and earning capacity, and other economic damages in an
  10   amount to be determine at trial;
  11          3.     an award of attorneys’ fees and costs;
  12          4.    prejudgment interest;
  13          5.    post-judgment interest;
  14          6.    punitive or exemplary damages according to proof;        and
  15          7.     for such other and further relief as thisCourt may deem just and proper.
  16   VH. DEMAND FOR JURY TRIAL
  17          Plaintiff hereby demands a trial by jury as to all of her claims.
  18   Dated: August 5, 2019
  19
  20                                            By:
                                                        M. Elizabeth Graham, CA 143085
  21                                                    Paige Alderson
                                                        GRANT & EISENHOFER P.A.
  22                                                    101 California Street, Suite 2710
                                                        San Francisco, California 94111
  23                                                    Phone: (415)365-9585
  24                                                    Fax: (415) 365-9650
                                                        Email: egraham@gelaw.com
  25                                                    Email: palderson@gelaw.com
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                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 32 of 61 Page ID #:103




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       2                                                                                          FILE 0
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                                                                                             County of Lax Angetes
       3
       4                    SUPERIOR COURT OF THE STATE OF CALIFORNIA                            apr i6   am
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       5                            FOR THE COUNTY OF LOS ANGELES                                                 Mfrty
                                                                                                      cKI 19
       6
           IN RE PERSONAL INJURY                      ) CASE NO.:
       7
           COURT (“PI COURT”) PROCEDURES,             )
       8   CENTRAL DISTRICT                           ) STANDING ORDER RE: PERSONAL
           (EFFECTIVE APRIL 16,2018)                  ) INJURY PROCEDURES, CENTRAL
       9                                              ) DISTRICT
      10                                              )
                                                      )
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      12
     13                      DEPARTMENT:              2         3     4      S     7
     14                           FINAL STATUS CONFERENCE (“FSC”>:
     15
                                • DATE;                                   AT 10:00 A.M.
     16
                                                    TRIAL:
     17
     IB                         • DATE;                                   AT 8:30 A.M.
     19                    DSC RE DISMISSAL (CODE CIV. PROCL $ 583.2101:
     20
                                ° DATE:                                   AT 8:30 A.M.
     21
     22          TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
     23        ' Pursuant to tire California Code of Civil Procedure (“C.C.P."), the Californio Rules
     24    of Court (“C.R.C.”) and the Los Angeles County Court Rules (“Local Rules*’), tbe Los
     25    Angeles Superior Court (“LASC” or “Court") HEREBY AMENDS AND SUPERSEDES
     26    THE AVGUST 10,2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,
     27    ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURISDICTION
     28    PERSONAL INJURY ACTIONS FILED IN THE CENTRAL DISTRICT.


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                         Standing Order Re Personal injury Procedures, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 33 of 61 Page ID #:104




                                                                                            2Q18-SJ-007-00



      1    I.    To ensure proper assignment to o PI Court, Plaintiffs) must carefully fill out the Civil
      2    Case Cover Sheet Addendum (form LAC1V 109). The Court defines “personal injury" as:
      3          “an unlimited civil case described on the Civil Cose Cover Sheet Addendum end
      4          Statement of Location (LACIV 109) as Motor Vehicle-Personal Injury/Property
      5          Damage/Wrongful Death; Personal Injury/Property Damage/Wrongful Death-
      6          Uninsured      Motorist;    Product       Liability   (other   than   asbestos   or
      7          toxic/environmental); Medical Malpractice-Physicians & Surgeons; Other
      8          Professional Health Care Malpractice; Premises Liability; Intentional Bodily
      9          Injury/Property Damage/Wrongful Death; or Other Personal Injury/Property
     10          Damage/Wrongful Death. An action for intentional infliction of emotional
     11          distress, defamation, civil rights/discrimination, or malpractice (other than
     12          medical malpractice), is not included in this definition. An action for injury to
     13          real property is not included in this definition." (Local Rule 2.3(aXl)(A).)
     14          Consistent with Local Rule 2 J(a)(lXA), the Court will assign a case to the PI Courts if
     IS   plaintiffs) check any of the following boxes in the Civil Case Cover Sheet Addendum:
     16                      A7100 Motor Vehicle- Personal Injuiy/Property Damage/Wrongful Death
     17                      A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured
     18                      Motorist
     19                      A7260 Product Liability (not asbestos or toxic/environmenlal)
     20                      A72I0 Medical Malpractice - Physicians & Surgeons
     21                      A7240 Medical Malpractice - Other Professional Health Care Malpractice
     22                      A72S0 Premises Liability (e.g., slip and foil)
     23                      A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
     24                      assault, vandalism etc.)
     25                      A7220 Other Personal Injury/Property Damage/Wrongful Death
     26          The Court wilt not assign cases to the Pi Courts if plaintiffs) check any boxes elsewhere
     27   in the Civil Case Cover Sheet Addendum (any boxes on pages two and three of (hat farm).
     28   ///


                                                        Page 2 of8

                          Standing Order Re Personal injury Procedures, Central District
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         1           The Court sets the above dates in this action in the PI Court circled above (Department
         2    2,3,4,5, or 7) at the Spring Street Courthouse, 312 North Spring Street, Los Angeles, CA 90012.
         3   (C.R.C. Rules 3.714(b)(3), 3.729.)
         4    FILING OF DOCUMENTS
      5       2.     Pmties may rile documents in person at the riling window on the first floor of the Stanley
      6      Mosk Courthouse (111 N. Hill Street, Los Angeles, CA 90012) or by U.S. Mail or e-Delivery,
      7      which is available online at wn'w.tacaurt.orp (link on homepage). Please note that filings are no
      8      longer accepted via facsimile and must be filed either in person, via U.S. mail or via e-Delivery.
      9      Claims involving an attorney-client fee dispute, documents in which the riling party is o minor,
     10      legally incompetent person, or person for whom n conservator has been appointed, requests to
     11      waive court fees (FW-GOI) and requests for accommodations by persons with disabilities (MC-
     12      410), may not be riled via c-Delivery.
     13      SERVICE OF SUMMONS AND COMPLAINT
     14      3.       Plaintiffs) shall serve the summons and complaint in this action upon defendants) as
     15      soon os possible but no later than three years from the dale when the complaint is riled.
     16      (C.C.P. § 583.210, sirfxL{a).) On the OSC te Dismissal date noted above, the PI Court will
     17      dismiss the action and/or all unserved parties unless the plaintiffs) show cause why the action
     16      or the unserved parties should not be dismissed. (C.C.P, §§ 583.250; 581, subd, (b)(4).)
     19      4.      The Court sets the above trial and FSC dates on condition that plaintiffs) effectuate
     20      service on defendants) of the summons and complaint within six months of riling the complaint
     21      5.      The PI Court will dismiss the case without prejudice pursuant to C.C.P. § 581 when no
     22      party appears for trial.
     23      STIPULATIONS TO CONTINUE TRIAL
     24      6.      Provided that all patties agree (and there is no violation of the “five-year rule,” C.C.P.
     25      j 583310), the parties may advance or continue any trial date in the PI Courts without showing
    26       food cause or articulating any reason or justification for the change. To continue or advance a
    27       trial date, the parties (or their counsel of record) should jointly execute and submit (at the filing
    28       window on the first floor of the Stanley Mosk Courthouse, via U.S. mail or via e-Delivery; fee


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      1   RESERVATION HEARING DATE
      2    10.    Parties are directed to reserve hearing dates for motions in the PI Courts using the Court
      3   Reservation System (CRS) available online at vnvw.lacourt.org (link on homepage). After
      4   reserving a motion hearing date, the reservation requestor must submit the papeis for Sling with
      5   the reservation receipt (CRS) number printed on the face page of the document under the caption
      6   and attach the reservation receipt as the last page. Parties or counsel who are unable to utilize
      7   the online CRS may reserve a motion hearing date by calling the PI Court courtroom, Monday
      8   through Friday, between 3:00 p.m. and 4:00 p.m.
      9   WITHDRAWAL OF MOTIONS
     10   U.      California Rides of Court, Rule 3.1304(b) requires a moving party to notify the court
     11   immediately ifa matter will not be heard on the scheduled date. In keeping with that rule, the PI
     12   Courts urge parties who amend pleadings in response to demurrers to file amended pleadings
     13   before the date when opposition to the demurrer is due so that the PI Courts do not needlessly
     14   prepare tentative rulings on demurrers.
     15   DISCOVERY MOTIONS
     16   12.     The purpose of an Informal Discovery Conference (“IDC") is to assist the parties to
     17   resolve and/or narrow the scopeofdiscovery disputes. Lead trial counsel on each side, or another
     18   attorney with foil authority to make binding agreements, must attend in person. The PI judges
     19   have found that, in nearly every case, the parties amicably resolve disputes with the assistance
     20   of the Court.
     21   13.     Parties must participate in an IDC before a Motion to Compel Further Responses to
    22    Discovery wilt be heard unless the moving party submits evidence, by way of declaration, that
    23    the opposing party has foiled or refused to participate in an IDC. Scheduling or participating in
    24    an IDC does not automatically extend any deadlines imposed fay the Code of Civil Procedure for
    25    noticing and filing discovery motions. Ideally, the parties should participate in an IDC before a
    26    motion is filed because the IDC may avoid the necessity ofa motion or reduce its scope. Because
    27    of that possibility, attorneys are encouraged to stipulate to extend the 45 (or 60) day deadline for
    28    filing a motion to compel further discovery responses in order to allow time to participate in an


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      1   IDC.
      2           If parlies do not stipulate to extend the deadlines, the moving party may file the motion
      3   to avoid it being deemed untimely. However, the IDC must take place before the motion is
      4   heard so it is suggested that the moving party reserve a dote for the motion hearing that is at least
      5   60 days after the date when the IDC reservation is made. Motions to Compel Further Discovery
      6   Responses are heard at 10:00 ajn. If the IDC is not productive, the moving party may advance
      7   the hearing on a Motion to Compel Further Discovery Responses on any available hearing date
      8   that complies with the notice requirements of the Code of Civil Procedure.
      9   14.     Parties are directed to reserve IDC dates in the PI Courts using CRS available online at
     10   www.lncourt.org (link on homepage). Parties ore to meet and confer regarding the available
     11   dates in CRS prior to accessing the system. After reserving the IDC date, the reservation
     12   requestor must file in the appropriate department and serve an Informal Discovery Conference
     13   Form for Personal Injury Courts, from LACIV 239 (revised J 2/14 or later), at least 15 court days
     14   prior to the conference and attach the CRS reservation receipt os the lost page. The opposing
     15   party nmy file and serve a responsive IDC form, briefly setting forth that party’s response, at
     16   least 10 court days prior to the IDC.
     17   15.     Time permitting, the PI Hub judges may be available to participate in IDCs to try to
     18   resolve other types of discovery disputes.
     19   EX PARTE APPLICATIONS
     20   16.     Under the California Rules of Court, courts may only grant ex parte relief upon a
     21   showing, by admissible evidence, that the moving party will suffer “irreparable harm,”
     22   “immediate danger," or where the moving party identifies “a statutory basis for granting relief
     23   ex parte.” (C.R.C. Rule 3.1202(c).) The PI Courts have no capacity to hear multiple ex parte
     24   applications or to shorten time to add hearings to their fully booked motion calendars. The P2
     25   Courts do not regard the Court’s unavailability far timely motion hearings as an “immediate
     26   danger*’ or threat of “irreparable harm" justifying ex parte relief. Instead of seeking ex parte
     27   relief, the moving party should reserve the earliest available motion hearing date (even if it is
     28   after the scheduled trial date) and should file a motion to continue trial. Parties should also check


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       i   the Court Reservation System from time to time because earlier hearing dates may become
       2   available as cases settle or hearings ore taken off calendar.
       3   REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT
       4    17.   Parties seeking to transfer a case from a PI Court to an independent Calendar (“l/C”)
       S   Court shall file (at the filing window on the first floor of the Stanley Mosk Courthouse; via U.S.
       6   mail or via e-Delivery) and serve the Court’s “Motion to Transfer Complicated Persona} Injury
       7   Case to Independent Calendar Court" (form LACIV 238, available on the Court's website under
       8   the PI Courts link}. The PI Courts will transfer a matter to an VC Court if the cose is not a
       9   “Personal Injury” case os defined in this Order, or if it is “complicated." In determining whether
      10   a personal injury case is "complicated" the PI Courts will consider, among other things, the
      11   number of pretrial hearings or the complexity of issues presented.
      12   18.     Patties opposing a motion to transfer have five court days to file (at the filing window
      13   on the first floor of the Stanley Mosk Courthouse, via U.S. mail or via e-Dctivery) an Opposition
      14   (using the same LACiV 238 Motion to Transfer form).
     15     19.   The PI Courts will not conduct a hearing on any Motion to Transfer to VC Court
     16    Although the parties may stipulate to transfer a case to an Independent Calendar Deportment, the
     17    PI Courts will make an independent determination whether to transfer the case or not
     18    FINAL STATUS CONFERENCE
     19    20.    Parties shall comply with the requirements of the PI Courts’ “First Amended Standing
     20    Order Re Fine] Status Conference,” which shall be served with the summons and complaint
     21    JURY FEES
     22    21.    Parties must pay jury fees no later than 365 calendar days after the filing of the initial
     23    complaint (C. C. P. § 631, subds. (b) and (c).)
     24    JURY TRIALS
     25    22.    The PI Courts do not conduct jury trials. On the trial date, a P! Court will contact the
     26    Master Calendar Court, Department One, in the Stanley Mosk Courthouse. Department One
     27    will assign cases out for trial to dedicated Civil Trial Courtrooms and designated Criminal
     20    Courtrooms.


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                           Standing Order Re Personal Injury Procedures, Central District
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                                                                                                                             2016-5J-007-0C



       1   SANCTIONS
       2   23.      The Court has discretion to impose sanctions for any violation of this general order.
       3   (C.C.P. §§ 128.7,187 and Gov. Code, § 68608, subd. (b).)
       4
       5
       6   Dated:   (kkk^JLihprO KT                                                              "t) U.
                         I                                         Debre K. Weintrsub
       7
                                                                   Supervising Judge of Civil Courts
       8                                                           Los Angeles Superior Court
       9
      10
      11                                                                                                                                      ■




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                             Standing Order Re Personal Injury Procedures, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 40 of 61 Page ID #:111




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         e                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
         9                 FOR THE COUNTY OF LOS ANGELES—CENTRAL DISTRICT
        TO
             In re Personal Injury Cases Assigned              FIRST AMENDED STANDING ORDER-
        n    To the Personal Injury Courts                     RE: FINAL STATUS CONFERENCE,
             (Departments 2.3,4,5 and 7 of the Spring          PERSONAL INJURY (“PI') COURTS
        12   Street Courthouse)                                (Effective as of April 16,2018)
        13

        14

        is   The dales for Trial and Final Status Conference (“FSC") hairing been set In this matter, the
        16   Court HEREBY AMENDS AND SUPERSEDES ITS JANUARY 2,2018 STANDING
        17   ORDER-RE: FINAL STATUS CONFERENCE, PERSONAL INJURY (“PI") COURTS
       ia    AND, GENERALLY, ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL
       19    JURISDICTION PERSONAL INJURY ACTIONS:
       20

       zi           1.     PURPOSE OF THE FSC
       22           The purpose of the FSC is to verify that the partles/counsel are completely ready to
       23    proceed with trial continuously and efficiently, from day to day, until vardlcL The PI Courts
       24    will verify at the FSC that all partles/counsel have (1) prepared the Exhibit binders and Trial
       25    Document binders and (2) met and conferred In an effort to stipulate to ultimate facts, legal
       2S    ssues, motions in limine, and the authentication and admissibility of exhibits.
       zi    ///

       2B    III
                                                        PsgalofS


             FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effecthm April 10,201B)
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 41 of 61 Page ID #:112




         i           2.     TRIAL DOCUMENTS TO BE FILED
         2          At least live calendar days prior to the Final Status Conference, the parties/counsel
         3   shall serve and file (In Room 102 of the Stanley Mosk Courthouse or by e-Delivery) the
         4   following Trial Readiness Documents!
         S                  A,     TRIAL BRIEFS (OPTIONAL)
         6                  Each pariy/eounsei may hie, but Is not required to file, a trial brief succinctly
         7   identifying:
         8                  (1) the claims and defenses subject to litigation;
         9                  (2) (he major legal Issues (with supporting points and authorities);
        to                  (3) the relief claimed and calculation of damages sought; and
        11                  (4) any other information that may assist the court at trial.
        12                  B.     MOTIONS IN LIMINE
        13                  Before filing motions In limine, the parties/counsel shall comply with the
        14   statutory notice provisions of Code of Civil Procedure (*C.C.P.‘) Section 1005 and the
        IS   requirements of Los Angetes County Court Rule (“Local Rule") 3.57(a). The caption of each
        IS   motion in limine shaft concisely Identify the evidence that the moving party seeks to
        17   preclude. Parties filing mors than one motion In limine shall number them consecutively.
        IB   Parties filing opposition and reply papers shall identify the corresponding motion number In
        19   the caption of (heir papers.
       20                   C.     JOINT STATEMENT TO BE READ TO THE JURY
       21                   For jury trials, the parties/counsel shall work together to prepare and file a Joint
       22    written statement of the case for the court to read to the jury. Local Rule 3.25(g)(4).
       23                   D.     JOINT WITNESS LIST
       24                   The pariles/counsel shall work together to prepare and file a joint list of aH
       25    witnesses in alphabetical older by last name that each party intends to call (excluding
       26    Impeachment and rebuttal witnesses). Local Rule 3.25(gX5). The joint witness Hst shall
       27    identify each witness by name, specify which witnesses are experts, and estimate the length
       26    of the direct, cross examination and re-direct examination (If any) of each witness. The
                                                          Paffe2of5


             FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Effective Apri 18,2016)
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 42 of 61 Page ID #:113




             parties/counsel shall Identify all potential witness scheduling issues and special
         2   requirements. Any party/counsel who seeks to elicit testimony from a witness not identified
         3   on the witness list must first make a showing of good cause to the trial court.
         4                  E.     UST OF PROPOSED JURY INSTRUCTIONS
         6                         (JOINT AND CONTESTED)
        6                   The parties/counsel shall jointly prepare and file a list of proposed jury
        7    instructions, organized in numerical order, specifying the instructions upon which all sides
         8   agree and the contested instructions, if any. The List of Proposed Jury Instructions must
        9    Include a space by each instruction for (he judge to indicate whether the instruction was
        10   given.
        11                  F.     JURY INSTRUCTIONS
        12                         (JOINT AND CONTESTED)
        13                 The partles/counse! shall prepare a complete set of full-text proposed Jury
        14   Instructions, editing ail proposed California Civil Jury Instructions (‘CACI’) and insert party
       15    name(s) and eliminate blanks and irrelevant material. The partlesfcounset shall prepare
       16    special instructions in a format ready for submission to the jury with the instruction number,
       17    title, and text only (i.e., there should be no boxes or other indication on the printed
       18    instruction Itself as to the requesting party).
       19                  6.      JOINT VERDICT FORM(S)
       20                  The parties/counsel shall prepare and jointly file a proposed general verdict
       21    form or special verdict form (with interrogatories) acceptable to alf sides. Local Rule
       22    3.25(g)(S). tf (he parties/counsel cannot agree on a joint verdict form, each party must
       23    separately file a proposed verdict form.
       24                  H.      JOINT EXHIBIT UST
       25                  The parties/counael shall prepare and file a joint exhibit list organized with
       26    columns identifying each exhibit and specifying each party’s evidentiary objections, if any, to
       27    admission of each exhibiL The parties/counsel shall meet and confer in an effort to resolve
       28    objections to the admissibility of each exhibit
                                                          Pase3o(S

             FIRST AMEN DEO ORDER RE FINAL STATUS CONFERENCE. PERSONAL INJURY COURTS (Effodhra Aprfl 18,2018)
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         r                   I.   PAGE AND UNE DESIGNATION FOR
         2                        DEPOSITION AND FORMER TESTIMONY
         3                If the parties/counsel Intend to use deposition testimony or former trial
         4 testimony In lieu of any witness's live testimony, the partiBs/counsel shall meet and confer

         5 and jointly prepare and file a chart with columns for each of the following: 1) the line and
         6 page designations of the deposition or former testimony requested for use, 2) objections,
         7 3) counter-designations, 4) any responses thereto, and 5) the Court's niHng.

         6        3.      EVIDENTIARY EXHIBITS
         a        The partles/counsel shall jointly prepare (and be ready to temporarily lodge for
        10 Inspection at the FSC) three sets of tabbed, internally paginated by document, and properly-

        n marked exhibits, organized numerically in three-ring binders (a set for the Court, the Judicial
        12 Assistant and the witnesses). The parties/counsel shall mark aft non-documentary exhibits

        13   and insert a simple written description of the exhibit behind the corresponding numerical tab
       14    In the exhibit binder. If the parties have a joint signed exhibit list and electronic copies of
        15   their respective exhibits, then the parties/counsei will not be required to produce exhibit
       16    binders at the FSC. However, the exhibit binders may be required by the assigned trial
       17    judge when the trial commences. In the absence of either a joint signed exhibit list or
       IB    electronic copies, exhibit binders will be required by all parties/counse! at the FSC.
       IB           4.     TRIAL BINDERS REQUIRED IN THE PI COURTS
       20          The parties/counsei shall jointly prepare (and be ready to temporarily lodge and
       21    Include the following for Inspection at the FSC) the Trial Documents consisting of conformed
       22    copies, tabbed and organized into three-ring binders with a table of contents that includes
       23    the following:
       24           Tab A:        Trial Briefs (Optional)
       25           Tab B:        Motions in Umina
       2fi          Tab C;        Joint Statement to Be Read to the Jury
       27           Tab D:        Joint Witness List
       26    ///

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             FIRST AMEN0S3 ORDER RE FINAL STATUS CONFERENCE. PERSONAL INJURY COURTS (Effective April 16.2016)
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 44 of 61 Page ID #:115




         1           Tab E:        Joint Ust of Jury instructions (identifying the agreed upon and
         z   contested Instructions)
         3           Tab F:        Joint and Contested Jury Instructions
         4           Tab 6:        Joint and/or Contested Verdict Form(s)
         5           Tab H:        Joint Exhibit list
         e           Tab I:        Joint Chart of Page and Line Designation(s) for Deposition and Former
         7   Testimony
         8           Tab J:        Copies of the Current Operative Pleadings (including the operative
         9   complaint, answer, cross-complaint, if any, and answer to any cross-complaint).
        10           The parties/counsel shall organize motions In timlne (tabbed in numerical order)
        11   behind Tab B with the opposition papers and reply papers for each motion placed directly
        12   behind the moving papers. The parties shall organize proposed jury Instructions behind
        13   Tab F, with the agreed upon instructions first In order followed by the contested Instructions
        14   (Including special instructions) submitted by each side.
        15           5.       FAILURE TO COMPLY WITH FSC OBLIGATIONS
        (6           The court has discretion to require any party/counsel who falls or refuses to comply
        17   with this Amended Standing Order to show cause why the Court should not Impose
        18   monetary, evidentiary and/or Issue sanctions (including the entry of a default or the striking
        19   of an answer).
        20

        21

        22   Date
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                      I                                 Debra K. Welntraub
        23
                                                         Supervising Judge, Civil
       24                                                Los Angeles Superior Court
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             FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (EJfecUva April 16,2018)
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    Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 45 of 61 Page ID #:116




                                 Superior Court of California, County of Los Angeles



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       What Is ADR?
       ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation. ;
       mediation, arbitration and settlement conferences. When AOR Is done by phone or colrnputer. It may be d|Ied phllne ;                      -   :^
       Dispute Resolution (ODR). These "alternatives" to litigation and trial are described below.

       Advantages of ADR
          • ; Saves Tirnie: ADR is faster than going to trial.
          • Saves Money: Parties can save ori court costs, attorneys fees and witness fees.
          • KeepsCohtrol with the parties: Parties choose their ADR process ahd provider for voluntaiy ADR.
          • Reduces stress/protects privacy: ADR is done outside the courtroom, in private Offices, by phone or online.
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       Disadvantages of ADR
           • Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
           • No Public Trial: AOh does not provide a public trial ora decision by a judge or jury.
              V;■; ■•'y.y'                   Y   ;y.y.; ■;yy•; y: ;y.y:Y..; Y                                 ‘Y             ■ \Y ,.

      Main Tvoes oif ADR:
              1. Negotiation: Parties often talk with each otiier in person; or by phone or online about resolving their case with a
                 settlement agreement instead of a trial If the parties have lawyers, they will negotiate for their clients.

              2. Mediation: In mediation, a neutrar'medlator'’llstens toeach person's concerns, helpsthem evaluate the
                 strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
                 acceptable to aH- Mediators do not decide the outcome. Parties maiy go to trial if they decide not to settle!

                            Mediation may be appropriate when the parties : :
                               • want to work out a solution but need help from a neutral person.
                               • have communication problems orstrong emotions that Interfere with resolution.
                            Mediation may not be appropriate when the parties
                              Y ^                                   or jury to decide the outcome, y y
                               • lack equal bargainingpower or have a history of physical/emotionai abuse.

                                                                                                                             IASC1
      iASC OV 271 NEW 03/19 :            !
      for Manditory Use
      Celllomls Rules of Court, rule 3.221
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 46 of 61 Page ID #:117




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     tl                   c. „ Mediators and ADR and Bar organizations that provide mediation may be found on the Internet. ,
                 ■.                 '            ->          -     '           -      -      -


        3;: Arbl»«!onr Arbitration |s l«s formal than trial, bprllke trla!. the parties presentevldenqe and arguments to the
         : person who cjacldes the outcome.: Irt "binding" arbltratlohi the arbitrator's dedslon is Hrial; there is no right to
            trial. In "nonbinding" arbitration, Ony party can request a trial after the arbitrator's decblon. For more
            Information about arbitration! visit http://www.courts.ca.gov/orograrm-adr.htm

        4. Mandatory Settlement Conferences (MSC): MSCs are orderedby the Court andare often heldclose to the trial
           date. The parties and thelrattorneys meetwitb a judge orsettlementoff leer who doesnot make a decision but
           assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a settlement.
           For Information about the Court's MSC programs for civil cases; visit: www.lacoufti.bfg/dMsIon/civil/settiement




  tos Angeles Superior Court ADR website:www.lacourt.org/dlvi5ion/civil/settlement
  For general Infohnation and videos aboutAOR,visithttp://www.courts.ca.gbv/programs-adr.htm




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 California Rules of Court rule 3.221
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 4                                                                                 t^ktealinda Mina

 5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                   FOR THE COUNTY OF LOS ANGELES
 7
 8   IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
     - MANDATORY ELECTRONIC FILING )
 9   FOR CIVIL                        )
                                                    )
10                                                  )
11
12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:
18   1) DEFINITIONS
19      a) “Bookmark” A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) “Efiling Portal” The official court website includes a webpage, referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) “Electronic Envelope” A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) “Electronic Filing” Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28

                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1     e) “Electronic Filing Service Provider” An Electronic Filing Service Provider (EFSP) is a
 2        person or entity that receives an electronic filing from a party for retransmission to the Court.
 3        In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
 4        agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
 5     0 “Electronic Signature” For purposes of these local rules and in conformity with Code of
 6        Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
 7        (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
 8        2.257, the term ‘‘Electronic Signature” is generally defined as an electronic sound, symbol, or
 9        process attached to or logically associated with an electronic record and executed or adopted
10        by a person with the intent to sign the electronic record.
11     g) “Hyperlink” An electronic link providing direct access from one distinctively marked place
12        in a hypertext or hypermedia document to another in the same or different document.
13     h) “Portable Document Format” A digital document format that preserves all fonts,
14        formatting, colors and graphics of the original source document, regardless of the application
15        platform used.
16   2) MANDATORY ELECTRONIC FILING
17     a) Trial Court Records
18        Pursuant to Government Code section 68150, trial court records may be created, maintained,
19        and preserved in electronic format. Any document that the Court receives electronically must
20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21        official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22     b) Represented Litigants
23        Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24        electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required parties to
27        electronically file documents through one or more approved EFSPs. Public Notices containing
28        effective dates and the list of EFSPs are available on the Court’s website, at www.lacourt.org.
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                    FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1        d) Documents in Related Cases
 2           Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3           electronic filing has been implemented in that case type, regardless of whether the case has
 4           been related to a Civil case.
 5   3) EXEMPT LITIGANTS
 6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
 7           from mandatory electronic filing requirements.
 8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9           Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.
12   4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14           i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                 Civil Procedure sections 170.6 or 170.3;
16           ii)   Bonds/Undertaking documents;
17           iii) Trial and Evidentiary Hearing Exhibits
18           iv)   Any ex parte application that is filed concurrently with a new complaint including those
19                 that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20           v)    Documents submitted conditionally under seal. The actual motion or application shall be
21                 electronically filed. A courtesy copy of the electronically filed motion or application to
22                 submit documents conditionally under seal must be provided with the documents
23                 submitted conditionally under seal.
24        b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled, “Notice of Lodgment," shall be filed electronically.
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28   //

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1   5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
 2     Electronic filing service providers must obtain and manage registration information for persons
 3     and entities electronically filing with the court.
 4   6) TECHNICAL REQUIREMENTS
 5     a) Electronic documents must be electronically filed in PDF, text searchable format when
 6        technologically feasible without impairment of the document's image.
 7     b) The table of contents for any filing must be bookmarked.
 8     c) Electronic documents, including but not limited to, declarations, proofs of service, and
 9        exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10        3.1110(f)(4). Electronic bookmarks must include finks to the first page of each bookmarked
11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12         bookedmarked item and briefly describe the item.
13     d) Attachments to primary documents must be bookmarked. Examples include, but are not
14         limited to, the following:
15        i)     Depositions;
16         ii)   Declarations;
17        iii)   Exhibits (including exhibits to declarations);
18        iv)    Transcripts (including excerpts within transcripts);
19         v)    Points and Authorities;
20         vi)   Citations; and
21        vii) Supporting Briefs.
22     e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23        encouraged.
24     f) Accompanying Documents
25         Each document acompanying a single pleading must be electronically filed as a separate
26        digital PDF document.
27     g) Multiple Documents
28         Multiple documents relating to one case can be uploaded in one envelope transaction.
                                                            4
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC HUNG FOR CIVIL
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 51 of 61 Page ID #:122
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 1     h) Writs and Abstracts
 2        Writs and Abstracts must be submitted as a separate electronic envelope.
 3     i) Sealed Documents
 4        If and when a judicial officer orders documents to be filed under seal, those documents must be
 5        filed electronically (unless exempted under paragraph 4); the burden of accurately designating
 6        the documents as sealed at the time of electronic submission is the submitting party's
 7        responsibility.
 8     j) Redaction
 9        Pursuant to California Rules of Court, rule 1.201, it is the submitting party’s responsibility to
10        redact confidential information (such as using initials for names of minors, using the last four
11        digits of a social security number, and using the year for date of birth) so that the information
12        shall not be publicly displayed.
13   7) ELECTRONIC FILING SCHEDULE
14     a) Filed Date
15        i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17            document received electronically on a non-court day, is deemed to have been effectively
18            filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19            Civ. Proc. § 1010.6(b)(3).)
20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21            course because of: (1) an interruption in service; (2) a transmission error that is not the
22            fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may
23            order, either on its own motion or by noticed motion submitted with a declaration for Court
24            consideration, that the document be deemed filed and/or that the document’s filing date
25            conform to the attempted transmission date.
26   8) EX PARTE APPLICATIONS
27     a) Ex parte applications and all documents in support thereof must be electronically filed no later
28        than 10:00 a.m. the court day before the ex parte hearing.
                                                       5
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 52 of 61 Page ID #:123
                                                                                             2019-GEN-014-00



 1     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
 2        day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
 3        application must be provided to the court the day of the ex parte hearing.
 4   9) PRINTED COURTESY COPIES
 5     a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6        be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
 7        the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
 8        by 10:00 a.m. the next business day.
 9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic submission) is required for the following documents:
11         i)   Any printed document required pursuant to a Standing or General Order;
12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13              pages or more;
14       iii)   Pleadings and motions that include points and authorities;
15       iv)    Demurrers;
16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17       vi)    Motions for Summary Judgment/Adjudication; and
18       vii)   Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20        additional documents. Courtroom specific courtesy copy guidelines can be found at
21        www.lacourt.orq on the Civil webpage under “Courtroom Information.”
22 10) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24        received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25         1010.6(d)(2).)
26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27        section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28        electronically filed in any authorized action or proceeding.
                                                      6
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 53 of 61 Page ID #:124
                                                                                                  20I9-GEN-014-00



 1   11) SIGNATURES ON ELECTRONIC FILING
 2      For purposes of this General Order, all electronic filings must be in compliance with California
 3      Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
 4      Division of the Los Angeles County Superior Court.
 5
 6          This First Amended General Order supersedes any previous order related to electronic filing,
 7   and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
 8   Supervising Judge and/or Presiding Judge.
 9
10   DATED: May 3,2019
                                                          KEVIN C. BRAZILE
11                                                        Presiding Judge
12                                               %
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                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
  Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 54 of 61 Page ID #:125
                                                                                                    Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                              FILED
 Spring Street Courthouse                                                                          Superior Court tfCaGfonfe
 312 North Spring Street, Los Angeles, CA 90012                                                      County of LaeArigates
                                                                                                          08/05/2019
                      NOTICE OF CASE ASSIGNMENT                                           Sfienri R Cinfer, Sxediiffirt! OSfie// Cteift OiCdtci

                                                                                            %            iRoffiiihda CSfton           OsfSiiiy
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   19STCV27416

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
                                                                 raJSvl
               ASSIGNED JUDGE               DEPT      ROOM                     ASSIGNED JUDGE                        DEPT         ROOM
    •/   Stephen I. Goorvitch               5




    Given to the Plaintiff/Cross-Complainant/Attomey of Record       Sherri R. Carter, Executive Officer / Clerk of Court
    on 08/06/2019                                                           By Romunda Clifton                                    , Deputy Clerk
                 (Date)
LACIV190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
  Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 55 of 61 Page ID #:126
                                   instructions for handling unlimited civil cases

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross­
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*ProvisionaUv Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
              Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 56 of 61 Page ID #:127
Electronically FILED by Superior Court of California, County of Los Angeles on 08/05/20R- Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy                                    q


          ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                            FOR COURT USE ONLY
         ~ M. Elizabeth Graham, State Bar# 143085
           GRANT & EISENHOFER P.A.
           101 California Street, Suite 2710
           San Francisco, CA 94111
                         TELEPHONE NO.:      (415) 365-9585                  FAX NO.:
           ATTORNEY FOR (Name):              Plaintiff
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                       street address:       Stanley Mosk Courthouse, 111 N. Hill Street
                       MAILING ADDRESS:
                      CITY AND ZIP CODE:     Los Angeles, CA 90012
                              BRANCH NAME:
              CASE NAME:
              Rosette Pambakian v. Gregory Blatt, et al.
                                                                                                                                CASE NUMBER:
                       CIVIL CASE COVER SHEET                                      Complex Case Designation
          I * I Unlimited     I            I Limited
                                                                   I    I Counter        1    1 Joinder
                (Amount                      (Amount
                                                                                                                   JUDGE:
                demanded                     demanded is           Filed with first appearance by defendant
                exceeds $25,000)             $25,000 or less)          (Cal. Rules of Court, rule 3.402)            DEPT:

                                                Items 1-6 below must be completed (see instructions on page 2).
         1. Check one box below for the case type that best describes this case:
             Auto Tort                                           Contract                                Provisionally Complex Civil Litigation
            □ Auto (22)                                          l   I Breach of contract/warranty (06)  (Cal. Rules of Court, rules 3.400-3.403)
            I I Uninsured motorist (46)                          I   l Rule 3.740 collections (09)       I    I Antitrust/Trade regulation (03)
            Other PI/PD/WD (Personal Injury/Property             I   I Other collections (09)            I     I Construction defect (10)
            Damage/Wrongful Death) Tort
            I     I Asbestos (04)
                                                                        □
                                                                        Insurance coverage (18)          I
                                                                                                         I
                                                                                                               l Mass tort (40)
                                                                                                               I Securities litigation (28)
                                                                 I   I Other contract (37)
            I     I Product liability (24)                       Real Property                           I     l Environmental/Toxic tort (30)
            I     I Medical malpractice (45)                     I   I Eminent domain/inverse            l    I Insurance coverage claims arising from the
            CZ] Other PI/PD/WD (23)                                     condemnation (14)                        above listed provisionally complex case
                                                                 l   I Wrongful eviction (33)                    types (41)
              Non-PI/PD/WD (Other) Tort
            I----- 1 Business tort/unfair business practice (07) l   I Other real property (26)          Enforcement of Judgment
                  □ Civil rights (08)                                   Unlawful Detainer                                I    I Enforcement of judgment (20)
                  I I Defamation (13)                                   j----- j Commercial (31)                           Miscellaneous Civil Complaint
                  □ Fraud (16)                                          I----- 1 Residential (32)                        I     I RICO (27)
                  I          l Intellectual property (19)               I----- 1   Drags (38)                            I    I Other complaint (not specified above) (42)
                  I I Professional negligence (25)                      Judicial Review                                    Miscellaneous Civil Petition
                  d] Other non-PI/PD/WD tort (35)                       L_J Asset forfeiture (05)                        l     I Partnership and corporate governance (21)
                   Employment                                           LJ Petition re: arbitration award (11)             Q other petition (not specifjed above) (43)
                  I I Wrongful termination (36)                         I___ | Writ of mandate (02)
                  I I Other employment (15)                             I      I Other judicial review (39)____________
         2. This case I      l is  I ✓ I is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            factors requiring exceptional judicial management:
                      a. I      I Large number of separately represented parties                d. I      I Large number of witnesses
                      b. I      I Extensive motion practice raising difficult or novel          e. I      I Coordination with related actions pending in one or more courts
                                   issues that will be time-consuming to resolve                       ___ in other counties, states, or countries, or in a federal court
                      c. I       I Substantial amount of documentary evidence                   f. I      I Substantial postjudgment judicial supervision

         3.           Remedies sought (check all that apply): a.I ✓ l monetary              b.l ✓ l nonmonetary: declaratory or injunctive relief                   c. I ✓ I punitive
         4.           Number of causes of action (specify): 8
         5. This case l      I is  l * I is not a class action suit.
         6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)

         Date: August 5, 2019
         M. Elizabeth Graham
                                                (TYPE OR PRINT NAME)                                                    (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                         NOTICE
              •       Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                      in sanctions.
              •       File this cover sheet in addition to any cover sheet required by local court rule.
              •       If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                      other parties to the action or proceeding.
              •       Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl)/. ^ ^
                                                                                                                                            of Court, rulas 2.30,3.220,3,400-3.433,3.740;
         Form Adopted for Mandatory Use
           Judicial Council of California
                                                                        CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
            CM-010 [Rev. July 1,2007)                                                                                                                                  www,courtlnto.ee,bov
                                                                                                                                                                  AmeHetn UsilNit, Irik
                                                                                                                                                                  wm.PomiWorkflow.com
   Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 57 of 61 Page ID #:128
                                                                                                                                      CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer           Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach-Seller                Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)       Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non­
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                      Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                Real Property                                                      Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                         Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                      harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer                                                 (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                 Judicial Review                                              Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
 l       Legal Malpractice                               Writ-Administrative Mandamus                        Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Petition for Name Change
             (not medical or legal)                          Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ-Other Limited Court Case                             Claim
Employment                                                   Review                                          Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1,2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
  Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 58 of 61 Page ID #:129


 SHORTTIUE; ROSETTE PAMBAKIAN V. GERGORY BLATT, et al.                                                 CASE NUMBER




                                                                                                                                                                    ■



                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                                                                                                                                                                    I5
                                                                                                                                                                    I-
                                                                                                                                                                    £
               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.

                                                                                                                                                                    I
                                                                                                                                                                    L
                                                                                                                                                                    i
      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
              Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
                                                                                                                                                                    i:•
                                                                                                                                                                    :
                                                                                                                                                                    I
      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.                                                         •
                                                                                                                                                                    i


      Step 3: In Column C, circle the number which explains the reason for the court filing location you have                                                       t
              chosen.                                                                                                                                               ;
                                                                                                                                                                    V
                                                                                                                                                                    ir

                                            Applicable Reasons for Choosing Court Filing Location (Column C)                                                        j.
                                                                                                                                                                    5
1. Class actions must be filed In the Stanley Mosk Courthouse, Central District,       7. Location where petitioner resides.                                        I
2. Permissive filing in central district.                                              8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                               9. Location where one or more of the parties reside.
                                                                                                                                                                    i
4. Mandatory personal injury filing In North District.                                10. Location of Labor Commissioner Office.                                    *
                                                                                                                                                                        ■
                                                                                      11. Mandatory filing location (Hub Cases - unlawful detainer, limited         i
5. Location where performance required or defendant resides.
                                                                                      non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.                                                                                                             ?
                                                                                                                                                                    I
                                                                                                                                                                    ?
                                                                                                                                                                    S’

                                                                                                                                          itsisii
                                                                                                                                          rAppl icablecReasons ?.
                                                                                                                                          ‘ Se® Step 3 Abov^g
                                                                                                                                                                    t
                                                                                                                                                                    *
                             Auto (22)              □ A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                1,4.11                    i.
   3 r
   3 O
   <                 Uninsured Motorist (46)        O A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist           1,4,11                    *

                                                    □ A6070 Asbestos Property Damage                                                      1,11                      j
                           Asbestos (04)
                                                    Q A7221 Asbestos - Personal Injury/Wrongful Death                                     1, 11
   £«
                       Product Liability (24)       Q A7260 Product Liability (not asbestos or toxic/environmental)                       1,4,11                    t
   i. i<u                                                                                                                                                           f
    E* <=>                                          Q A7210 Medical Malpractice - Physicians & Surgeons                                       1,4,11
   ft                Medical Malpractice (45)
                                                    D A7240 Other Professional Health Care Malpractice                                    1,4, 11
    s2 5I                                                                                                                                                           s

   S2
   0) "a»                                           □ A7250 Premises Liability (e.g., slip and fall)
                         Other Personal                                                                                                   1,4,11
   * S’                                             0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,               1.4(7?)
   J5 °1                 Injury Property
                        Damage Wrongful                     assault, vandalism, etc.)
                                                                                                                                          1.4.11
                                                                                                                                                                    L
                                                                                                                                                                    l
                           Death (23)               D A7270 Intentional Infliction of Emotional Distress
                                                                                                                                          1.4.11
                                                    □ A7220 Other Personal Injury/Property Damage/Wrongful Death                                                    \
                                                                                                                                                                    r
                                                                                                                                                                    ;
                                                                                                                                                                    \

   LASC CIV 109 Rev. 12/18
                                                   CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3                ;
   For Mandatory Use
                                                      AND STATEMENT OF LOCATION                                                           Page 1 of 4


                                                                                                                                                                        i
Case 2:19-cv-07053-MWF-FFM Document 1-2 Filed 08/13/19 Page 59 of 61 Page ID #:130


SHORT TITLE     ROSETTE PAMBAKIAN V. GERGORY BLATT, et al.                                           CASE NUMBER
                                                                                                                                                                i


                 ^CtviLCaSeCOvefSheet' J,
                 ^ ^ Category No '*
                       tl3 t'**;1          a; •   i
                                                      ft'Z             jj'v.           Type of Action \ ,
                                                                                    _ (Check only one) >
                                                                                                               ;   immmm
                                                                                                                   s*ai®asi
                                                                                                                                         ‘ > ,c Applicable r‘
                                                                                                                                         •Reasons^See.Step^,    I
                                                                                                                                                                »
                      Business Tort (07)              Q A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1.2,3                   f
                                                                                                                                                                J?
                                                                                                                                                                S
   n o                 Civil Rights (08)              a A8005 Civil Rights/Discrimination                                                1. 2, 3                L*
  S =s                                                                                                                                                          i
  i s                  Defamation (13)                O A6010 Defamation (slander/libel)                                                 1,2.3                  I-
                                                                                                                                                                I
  J1 B»
  11
                            Fraud (16)                □ A6013 Fraud (no contract)                                                        1.2, 3
                                                                                                                                                                i
                                                                                                                                                                I
   12    -35                                          □ A6017 Legal Malpractice                                                          1,2,3                  i
   w o>          Professional Negligence (25)
  CL  (O                                              □ A6050 Other Professional Malpractice (not medlcal or legal)                      1.2, 3                  *
   c E
   O       CO
  Z Q
                            Other (35)                0 A6025 Other Non-Personal Injury/Property Damage tort                             1,2,3
                                                                                                                                                                f
    'c            Wrongful Termination (36)           O A6037 Wrongful Termination                                                       1,2,3
     o
     £
     >>                                               □ A6024 Other Employment Complaint Case                                            1,2, 3                 •>.
     Ol            Other Employment (15)                                                                                                                        t
       E                                              Q A6109 Labor Commissioner Appeals                                                 10
    Ui

                                                      □ A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful

                 Breach of Contract/ Warranty
                             (06)
                                                              eviction)
                                                      □ A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                                                                                                                         2,5
                                                                                                                                         2,5                     f
                       (not Insurance)                                                                                                   1.2,5
                                                      Q A6019 Negligent Breach of Contract/Warranty (no fraud)                                                   }
                                                                                                                                         1.2,5
                                                      □ A6028 Other Breach of Contract/Warranty (not fraud or negligence)
                                                                                                                                                                ?
    s                                                 □ A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
    5c                 Collections (09)
                                                      □ A6012 Other Promissory Note/Collections Case
       o                                                                                                                                 5,11
    o                                                 □ A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6,11
                                                              Purchased on or after January 1, 2014)
                                                                                                                                                                l
                                                                                                                                                                i
                   Insurance Coverage (18)            □ A6015 Insurance Coverage (not complex)                                           1,2, 5, 8
                                                                                                                                                                i
                                                                                                                                                                l
                                                      □ A6009 Contractual Fraud                                                          1.2, 3.5               1t
                     Other Contract (37)              □ A6031 Tortious Interference                                                      1.2, 3,5
                                                                                                                                                                i
                                                      □ A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1.2, 3, 8,9            f
                   Eminent Domain/Inverse                                                                                                                        l
                                                      □ A7300 Eminent Domain/Condemnation               Number of parcels.               2,6

    £
                     Condemnation (14)

                    Wrongful Eviction (33)            □ A6023 Wrongful Eviction Case                                                     2.6
                                                                                                                                                                i!
    e
    a.
                                                                                                                                                                 Ir
    73                                                □ A6018 Mortgage Foreclosure                                                       2,6                     sr ■
    <u
    VC             Other Real Property (26)           □ A6032 Quiet Title                                                                2.6
                                                      □ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6
                                                                                                                                                                 l
                 Unlawful Detainer-Commercial                                                                                                                   t
                                                      □ A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6,11
                             (31)
     a>                                                                                                                                                         i
    .£
     n           Unlawful Detainer-Residential
                                                                                                                                                                \
     <u                                               □ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
    Q                        (32)
       =             Unlawful Detainer-                                                                                                                          !
                                                      O A6020FUnlawful Detainer-Post-Foreclosure                                         2, 6,11
                    Post-Foredosure (34)                                                                                                                        i
       c
    3            Unlawful Detainer-Drugs (38)         □ A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



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                                                                                                                                                                    i
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                                                                                                                                                     !
short title:     ROSETTE PAMBAKIAN V. GERGORY BLATT, at al.                                             CASH NUMBER                                  i
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                                                                                                   r*           *        tv    I    C Applicable „
                 ^ ' Civil Ca_se, Cover Sheel, ^ 'V\ ">„%V                '?   ,       Type'of Action   urn                    iR'easons4SeeStep3
                                                                                                                                                     i
                 mJV' .'/Category No          ?■,, ',l L" ‘‘          ”            i                          1*111......
                       Asset Forfeiture (05)        □ A6108 Asset Forfeiture Case                                               2.3, 6               i
                                                                                                                                                     i
     ?
                     Petition re Arbitration (11)   □ A6115 Petition to Compel/Confirm/Vacate Arbitration                       2,5                  I
     “
        s                                           O A6151 Writ-Administrative Mandamus                                        2,8
    DC
                                                                                                                                                     fi
                       Writ of Mandate (02)         □ A6152 Writ-Mandamus on Limited Court Case Matter                          2
    Si                                                                                                                                               i-
    ■o
    ,3                                              D A6153 Writ - Other Limited Court Case Review                              2


                   Other Judicial Review (39)       D A6150 Other Writ/Judicial Review                                          2.8


                 Antitrust/Trade Regulation (03)    □ A6003 Antitrust/Trade Regulation                                          1,2, 8
        §
     15              Construction Defect (10)       □ A6007 Construction Defect                                                 1,2, 3
        H>                                                                                                                                            i
    £
                   Claims Involving Mass Tort
        S                     (40)
                                                    □ A6006 Claims Involving Mass Tort                                          1,2, 8
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        Q.

    o
        E
        o
                     Securities Litigation (28)     D A6035 Securities Litigation Case                                          1,2, 8
                                                                                                                                                     i
    J*
    15                      Toxic Tort
                                                                                                                                                     i;
        §               Environmental (30)
                                                    □ A6036 Toxic Tort/Environmental                                            1.2, 3,8

        o          Insurance Coverage Claims
    £                                               □ A6014 insurance Coverage/Subrogation (complex case only)                  1,2, 5,8
                     from Complex Case (41)

                                                    □ A6141 Sister State Judgment                                               2, 5, 11             i
                                                                                                                                                     ?
                                                    □ A6160 Abstract of Judgment                                                2,6                  *■



   c £
   a>       0>
                                                    □ A6107 Confession of Judgment (non-domestic relations)                     2,9
   6
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            E
            o>
                            Enforcement                                                                                                               !
   2 13                   Of JUd0hiSnl(2O)          Q A6140 Administrative Agency Award (not unpaid taxes)                      2,8
   3 3
   c «-
                                                                                                                                                      F
   UJ       o                                       D   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax          2,8                   >
                                                                                                                                                     i-
                                                    Q A6112 Other Enforcement of Judgment Case                                  2,8,9                s:
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                                                                                                                                                     if
                             RICO (27)              □   A6033 Racketeering (RICO) Case                                          1,2.8
            3
   S =
   S 3                                              D A6030 Declaratory Relief Only                                             1.2,8
    = 9-
   — §                   Other Complaints           □ A6040 Injunctive Relief Only (not domestic/harassment)                    2,8
   •55 S
   8                 (Not Specified Above) (42)     □ A6011 Other Commercial Complaint Case (non-tort/non-complex)              1,2.8
   i 5
     o                                              □ A6000 Other Civil Complaint (non-tort/non-complex)                        1,2, 8
                                                                                                                                                     i
                                                                                                                                                     i


                      Partnership Corporation
                         Governance (21)
                                                    □   A6113 Partnership and Corporate Governance Case                         2,8
                                                                                                                                                     i
                                                                                                                                                     f
                                                    □ A6121 Civil Harassment With Damages                                       2, 3.9

   1S -28                                           □ A6123 Workplace Harassment With Damages                                   2, 3,9
                                                                                                                                                      ;
                                                                                                                                2, 3,9
   II                   Other Petitions (Not
                                                    D A6124 Elder/Dependent Adult Abuse Case With Damages
    ® °-
   Is oI
                       Specified Above) (43)        □ A6190 Election Contest

                                                    □   A6110 Petition for Change of Name/Change of Gender
                                                                                                                                2

                                                                                                                                2,7
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                                                    □   A6170 Petition for Relief from Late Claim Law                           2, 3,8                i
                                                    □ A6100 Other Civil Petition                                                2,9                   i
                                                                                                                                                      !
                                                                                                                                                      i

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Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
                                                                                                                                          i
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
                                                                                                                                          1
        (No address required for class action cases).
                                                                                                                                          }
                                                                                                                                          i
                                                                    ADDRESS:                                                              i
   REASON:                                                                                 465 S La Cienega Blvd                          l
    01.D2.D3. 0 4.0 5. 0 6. 0 7. 0 8. 0 9.010.011.
                                                                                                                                          !•
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                                                                                                                                          (
   CITY:                                   STATE:     ZIP CODE:                                                                           t
                                                                                                                                          :
   LOS ANGELES                             CA         90048

Step 5: Certification of Assignment: I certify that this case is properly filed in the CENTRAL DISTRICT              District.of
        the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].             j




  Dated: AUGUST 5, 2019
                                                                                    (SIGNATURE OF ATTORNEY/FILING PARTY)
                                                                                                                                          ;

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  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.                                                                                               i

                                                                                                                                          ■:




       2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.
                                                                                                                                          !
                                                                                                                                          ?
       3.   Civil Case Cover Sheet, Judicial Council form CM-010.                                                                         |
       4.   Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.                          T
            02/16).
                                                                                                                                          ?
       5.   Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
                                                                                                                                          ■
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7.   Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum                      f
                                                                                                                                          ;■




            must be served along with the summons and complaint, or other initiating pleading in the case.
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